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EXPERT REPORT OF NESTOR D. SOLER

EVALUATION OF JEFFERSON PARISH
LANDFILL GAS EMISSIONS
AVONDALE, LOUISIANA – JEFFERSON PARISH




___________________________________
Nestor D. Soler PE (NJ)
Principal, Ramboll US Consulting, Inc.
January 28, 2021
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      1.           INTRODUCTION
[1]                        My name is Nestor D. Soler, and I am a Principal employed by Ramboll US Consulting,
                           Inc. (“Ramboll”). Ramboll is an international engineering and consulting company
                           founded in Denmark in 1945. Ramboll currently employs approximately 16,500
                           professionals around the globe providing services in the areas of Environment & Health,
                           Water, Energy, Buildings and Transport, among others. A current copy of my
                           curriculum vitae, including a list of my publications and cases in which I have testified
                           in depositions previously, is attached as Appendix A. I have not testified as an expert,
                           either trial or at a deposition, during the last four years.

[2]                        I received my bachelor’s degree in civil engineering in 1984 at los Andes University in
                           Colombia; in 1990, I received my master’s degree in environmental and civil
                           engineering from Rutgers University. I have held a professional engineering license in
                           the State of New Jersey since 1993. With over 25 years of experience as an
                           environmental, geotechnical and civil engineer, I have contributed to the planning,
                           investigation, design and implementation of numerous large-scale engineering projects.
                           In reference to solid waste experience, I have directed design and construction projects
                           and pioneered the development of innovative systems in the following areas: landfill
                           environmental control/treatment systems; landfill gas generation, control and
                           treatment; landfill closure and brownfield and landfill redevelopment; soil and
                           groundwater remediation and landfill rehabilitation; beneficial reuse programs; and
                           solid waste management. I have participated in different solid waste landfill projects in
                           the United States and worldwide, including landfills in Latin America, Canada, Europe,
                           China, Africa and Australia.

[3]                        I am submitting this expert report at the request of Whiteford, Taylor & Preston, LLP
                           (WTP) in connection with this case. 1 During the preparation of this report, I was
                           assisted by engineers and scientists who work at Ramboll and have relevant knowledge
                           and expertise relating to the technical matters in question. Their names are listed
                           below:

                           •    Jose Sananes, P.E.

                           •    Christopher Buzgo, Ph.D.

                           •    Barry Schnorr

                           •    Emily Maj

[4]                        These scientists and engineers provided assistance in screening, reviewing and
                           evaluating certain case documents. Their technical assistance was also directed toward
                           specific engineering evaluations, which I needed to confirm relevant information. As
                           such, I carefully reviewed, and assume responsibility for, all the technical information
                           that they processed and provided to me. Finally, I attest that all technical observations,
                           opinions, and conclusions provided in this report are mine.



      1
          Frederick Addison et al. v. Louisiana Regional Landfill Co., et al., Civ. Action No.19-1113 and 19-14512, and Elias Jorge (“George”)
          Ichtech-Bendek et al. v.Waste Connections Bayou, Inc., Civ. Action No. 18-7889, E.D.La.)



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[5]                  Ramboll is being compensated on a time and materials basis for my time at the rate of
                     $247.50 per hour; for deposition and trial testimony, Ramboll charges 1.5 times my
                     standard hourly rate.

[6]                  Both I and Ramboll are independent environmental consultants in this matter. Neither
                     Ramboll, I, nor any of its employees or subcontractors have any interest in the
                     outcome of this matter. Our fees are not contingent upon the opinions expressed
                     herein, and none of us has any financial interest in the outcome of this case.

           1.1       Scope and Purpose
[7]                  WTP initially retained Ramboll on behalf of plaintiffs in the matter of Frederick Addison
                     et al. v. Louisiana Regional Landfill Co., et al., (E.D. La., Civ. Action No.19-1113 and
                     19-14512) to conduct a site inspection and landfill gas characterization of the Jefferson
                     Parish Landfill site (“JPL”, “Site” or “JPL Site”), an active municipal, industrial, and
                     commercial solid waste landfill located in Avondale, Louisiana on the west bank of the
                     Mississippi River. The landfill gas characterization activities, which were carried out
                     under Ramboll’s general supervision, included gas monitoring, sampling, and analysis,
                     which were conducted at the Site between November 4 and 8, 2019 in accordance with
                     Ramboll’s October 31, 2019 Landfill Gas Characterization Work Plan (Ramboll, 2019).
                     That work plan was prepared after extensive consultation with the defendants in these
                     cases and with their approval. The activities conducted during the site inspection and
                     the results of that assessment are contained in Ramboll’s report entitled Landfill Gas
                     Characterization Report, a copy of which is attached as Appendix B hereto.

[8]                  Following completion of those activities, I was asked by WTP to: (a) evaluate the
                     operational conditions of the gas extraction system at the Site; (b) estimate the
                     generation of landfill gas and, in particular, hydrogen sulfide (H2S) from the
                     biodegradation of solid waste at the JPL Site; (c) identify H2S emissions from
                     biodegradation of solid waste within the different areas, or Phases, where waste was
                     disposed at the JPL; and (d) prepare an inventory of H2S emissions to be used in an air
                     model, which was to be performed by other experts.

           1.2       Information Considered
[9]                  In preparing this report, I considered documents produced by the parties in this case,
                     documents publicly available on the website of the Louisiana Department of
                     Environmental Quality (“LDEQ”), and other documents cited below and in Ramboll’s
                     2019 site inspection report. These documents provided information concerning, among
                     other things, general information about the landfill; reports written by other
                     consultants; inspection reports completed by, or on behalf of, the Jefferson Parish
                     Landfill, Jefferson Parish, and/or LDEQ; landfill gas (LFG) collection system (LFGCS)
                     measurements; emails and; waste disposal records for the facility. The documents
                     relied upon for this report are listed in Section 8. In preparing this report I also relied
                     on various EPA Guidance documents, regulations and literature sources identified
                     below, as well as my own professional knowledge, experience, and expertise
                     concerning solid waste landfills and the various issues discussed in this report.




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            1.3       Limitations
[10]                  Assumptions made during my evaluation are outlined throughout the report. I have
                      assumed that the information supplied to me accurately documents the facts and
                      circumstances in relation to the technical matters that this report addresses. In my
                      opinion, the documents and information that I relied on are the type of information that
                      an expert in my field would reasonably rely upon in formulating the opinions that I
                      offer in this report. This report summarizes work performed to date and presents my
                      findings and opinions resulting from that work, made to a reasonable degree of
                      scientific certainty. Should additional documents be discovered or produced and the
                      information contained in these documents bear upon any of my technical opinions, I
                      reserve the right to prepare a supplemental expert report to add and/or amend my
                      opinions.




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       2.         SUMMARY OF FINDINGS AND OPINIONS
            2.1       Summary of Landfill Gas and Leachate Management at the Site
[11]                  Since 2017, Golder Associates (Golder), Carlson Environmental Consultants (CEC) and
                      River Birch, LLC (River Birch) have prepared reports assessing the landfill gas and
                      leachate collection system at the JPL Site. It is my understanding that both Golder and
                      CEC undertook their analyses as consultants hired by Jefferson Parish before this
                      litigation began.

[12]                  It has been well documented since 2017 that the LFG extraction system has been
                      deficient due to the high levels of liquids within the landfill phases. In fact, in 2017,
                      Golder recommended that prior to installation of new landfill extraction wells, the
                      following remedial actions be implemented: (a) installation of horizontal gas collectors
                      in close proximity to the location of the surface emission exceedance; (b) dewatering of
                      wells with submerged sections of perforated pipe (well screen) in order to increase LFG
                      flow and improve LFG quality; and (c) improvements to the gas control system to
                      manage condensate (Golder, 2017).

[13]                  The LFG recovery data for Phases IIIA, IIIB, and IVA provided by Golder (Golder, 2017)
                      indicate that the efficiency of the LFG collection systems for these landfill areas has
                      been decreasing over time since 2011. Specifically, according to Golder, from 2011
                      through 2016, the gas collection efficiency for these phases gradually decreased from
                      68.9% to 47.5% using the Golder gas generation estimates, and from 29.5% to 19.6%
                      using LandGEM conventional parameters (Golder, 2017).

[14]                  The August 2018 CEC assessment clearly documents the inadequacy of the landfill gas
                      collection system and significant deficiencies in liquid (leachate) collection in the
                      landfill. In fact, the leachate within the landfill media reaches levels that block to
                      varying degrees the screens of the LFG extraction wells, which were set 10 feet above
                      the landfill’s bottom liner. These high leachate levels impede collection of the gas that
                      is being generated, which in turn allows this gas to be emitted to ambient air as
                      fugitive emissions. CEC concluded that the subsurface liquids impact the limited
                      pathways of available LFG recovery, contributing to gas emissions, and site odors. The
                      data evaluated by CEC indicated that liquid removal has not been successful at the
                      facility as most of the liquid pumps are not in operation or provide minimum liquid
                      withdrawal due to deficiencies in both the landfill gas condensate and leachate
                      collection pumping systems. CEC also noted significant deficiencies in the maintenance
                      and operation of these systems and provided numerous recommendations to improve
                      them. Ultimately, CEC concluded that the landfill is wet, with subsurface liquids
                      impacting the limited pathways of available LFG recovery, contributing to gas
                      emissions, and site odors. Further, CEC identified extremely high concentrations of H2S
                      in several landfill gas wells of Phase IVA (CEC, 2018).

[15]                  In May 2019, CEC proposed that the LFG extraction system be rehabilitated in stages
                      to achieve higher collection efficiencies. The significant and costly rehabilitation plans
                      proposed to extract LFG from the different landfill phases indicates the magnitude of
                      the deficiencies in the collection of landfill gas at JPL Site, deficiencies which have
                      resulted in high emissions of gases generated within the landfill media.



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[16]                  It should be noted that the Golder and CEC gas generation estimates are based on
                      biodegradation parameters for conventional landfills and do not account for specific
                      factors applicable to the JPL, as discussed below. The Golder and CEC gas generation
                      estimates yield lower gas generation rates in the initial phases of waste biodegradation
                      than would have been generated at the JPL.

[17]                  On May 22, 2019, River Birch prepared a summary of identified problems at the JPL,
                      with explanations of their potential consequences. These conclusions were based on
                      assessments independently performed in March and April of 2019 by CEC and River
                      Birch on the LFG extraction and leachate collection systems. From this report, it is
                      evident that the LFG extraction system at the JPL Site performs inadequately, not only
                      because of high liquid levels within the landfill media but also because of improper
                      construction and maintenance of the new infrastructure as part of the Parish’s attempt
                      to correct a multitude of historical operational problems. These conditions have
                      significantly contributed to gas emissions and odors.

[18]                  The information provided by Golder, CEC, and River Birch reveals that the landfill gas
                      and leachate management systems at the JPL Site have been inefficiently operated and
                      maintained, requiring significant infrastructure improvements to correct LFG extraction
                      deficiencies, and that these deficiencies have contributed to increased gas emissions
                      and odors. These reports document that the existing landfill gas and leachate control
                      systems are improperly maintained, antiquated and inadequately sized, and/or non-
                      performing.

[19]                  Deficiencies related to the operation of the LFG extraction and leachate collection
                      systems have been historically reported in other documents reviewed by Ramboll,
                      including numerous field inspection, field monitoring, and maintenance and operation
                      reports dating back to 2013. These documents reveal that:

                      •   Operational issues related to the gas wells have included, but are not limited to,
                          pressure exceedances, oxygen exceedances, high leachate levels, limited gas flow,
                          gas odors, H2S detections, distressed vegetation around wells, damaged or missing
                          components (e.g., liner boot, pump, clamps, seals), and surface emission
                          monitoring (SEM) exceedances.

                      •   Operational issues related to the leachate collection and landfill gas condensate
                          management systems included, but are not limited to, drainage issues on the
                          condensate sumps, leachate and landfill gas leaks in conveyance lines and/or
                          risers, plugged conveyance lines, detection of LFG odors and H2S, damaged or
                          missing components (e.g., gauges, pumps, riser seals, valves, transducers,
                          flanges), SEM exceedances, and positive pressures at the LFG extraction wells.

[20]                  Ramboll mapped concentrations of LFG parameters collected during its November 2019
                      field sampling and monitoring activities. The presence of relatively high methane
                      concentrations in some locations indicates that there is active anaerobic biodegradation
                      of waste in all phases of the landfill, and that the existing landfill gas collection system
                      is ineffectively operated, maintained and/or designed. Moreover, when methane or H2S
                      were not present, this was most likely due to atmospheric air infiltration induced by
                      high vacuum pressure exerted on some of the wells. Multiple lines of evidence,



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                      including the mapping of pressure, oxygen, and the combination of oxygen and carbon
                      dioxide, indicate that the existing landfill gas collection system was not properly
                      designed, has not been effectively operated and maintained, and has not adequately
                      controlled LFG emissions from the site.

[21]                  In my opinion, numerous design, construction, and operation and maintenance issues
                      associated with the gas extraction and leachate collection systems have resulted in
                      multiple potential point sources of LFG emissions. Moreover, the elevated liquid levels
                      within the landfill media inhibit the adequate extraction and control of landfill gas that
                      is being generated within the landfill media.

            2.2       LFG Mapping and Emission Sources at the Site
[22]                  Ramboll mapped concentrations of LFG parameters collected during the November
                      2019 field sampling and monitoring activities. Major findings of Ramboll’s mapping
                      follows.

[23]                  The H2S mapping indicates that, while typical sulfate-rich waste streams have been
                      historically deposited in certain areas of each landfill phase, Phase IVA received a
                      unique sulfate-rich waste stream that has resulted in significantly higher H2S
                      generation from solid waste placed in this area, with concentrations of H2S in landfill
                      gas at least one order of magnitude higher than the concentrations in other areas.

[24]                  Given the deficient conditions of the LFG extraction system, the following potential
                      sources of emissions were identified: (1) area source emissions as a result of the low
                      efficiency of the LFG extraction system; (2) gas emissions from the liquid waste
                      solidification process; (3) point source gas emissions from defective LFG extraction
                      wells and conveyance pipelines; (4) point source gas emissions from leachate and
                      condensate risers; and (5) gas emissions from leachate evaporation.

[25]                  Ramboll evaluated each of these potential sources and developed methods to
                      characterize gas emissions from these sources. I concluded that for the period ranging
                      from late 2016 to the end of 2019, the most significant sources of emissions were
                      (1) area source emissions as a result of poor efficiency of the existing LFG extraction
                      system, and (2) H2S generated from the liquid waste solidification process. Point source
                      gas emissions and emissions from leachate evaporation unquestionably occurred and
                      contributed to total JPL emissions. I did not, however, reach a conclusion concerning
                      the quantity of emissions from these sources due primarily to the lack of continuity of
                      these emissions over time and locations. As indicated in this report, while numerous
                      design, construction, and operation and maintenance issues associated with the gas
                      extraction and leachate collection systems have been identified that would result in
                      multiple potential point sources of LFG emissions, emissions from these known sources
                      were not included in my estimates of the gas generated at the JPL. As a result, my
                      calculations of LFG generation and emissions likely underestimate the LFG emissions
                      from the landfill.




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            2.3       H2S Generation from Solid Waste at the Site
[26]                  My evaluation focuses on the generation of H2S at the JPL during the years 2016
                      through 2019. To perform this modeling I used the LandGEM model, a first-order
                      kinetic model extensively used and accepted in the United States that was developed
                      and approved for use for regulatory purposes by the USEPA. The LandGEM model
                      requires a number of inputs for various parameters (EPA, 2005a).

[27]                  For LFG modeling purposes the following input parameters were used:

                      •   Waste Acceptance Tonnage: For LFG modeling purposes, Ramboll used waste
                          disposal quantities reported by CEC (CEC, 2019a and CEC, 2019b) and/or waste
                          quantities reported by the Parish to the LDEQ in its Annual Waste Certification of
                          Compliance reports.

                      •   Kinetic Constant (k): The k constant represents the rate at which waste within a
                          landfill degrades and generates LFG. The selection of k depends on many factors
                          including moisture content. The leachate levels at the site indicate that the landfill
                          media is between 34% to 59% saturated. Therefore, based on USEPA studies, the
                          landfill should be treated as a wet landfill and not as a conventional landfill. Based
                          on my review of USEPA studies of kinetic constants for wet landfills, I concluded
                          that a k value of 0.11 year-1 was appropriate to estimate LFG generation at the Site
                          as an input to the LandGEM model.

                      •   Methane Potential (Lo): The Lo constant represents the total volume of methane
                          that could be produced from a unit mass of waste. For the same reasons, I have
                          concluded that the EPA-recommended conventional Lo of 96 m3/Mg for wet landfills
                          (EPA, 2005a) was appropriate to model landfill gas generation at the JPL Site as an
                          input to the LandGEM model.

                      •   H2S Concentration: In order to estimate emissions rates for hydrogen sulfide from
                          solid waste (other than sulfate-rich spent lime), an average H2S concentration was
                          calculated for each landfill phase (other than Phase IVA) based on measurements
                          taken by Ramboll in November 2019. To derive the average H2S concentration
                          within a Phase, we only included H2S measurements taken from wells in that Phase
                          where oxygen concentrations were measured at less than 5%. My colleague Dr.
                          Janna Pietari has conducted a separate assessment on the H2S generated by
                          sulfate-rich wastes disposed in Phase IVA, which is presented in her accompanying
                          expert report. Thus, for Phase IVA instead of an average H2S concentration based
                          on measurements taken in November 2019, I assumed that the average H2S
                          generated by all other solid wastes placed in Phase IVA (i.e., wastes other than
                          those addressed by Dr. Pietari) was equivalent to that of Phase IIIB.

[28]                  The results of my modeling of H2S generated from solid waste at the JPL Site are
                      presented in Table 5-15.

            2.4       H2S Emissions at the Site
[29]                  Gases generated at the site that are not captured by the LFG extraction system are
                      considered fugitive emissions. To estimate emissions, collection efficiencies (i.e., the
                      percent of LFG generated at the site that is captured by the LFG extraction system)




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                      were determined as described in Section 6 of this report. Knowing the total amount of
                      gas generated and the percentage of that gas that is captured by the LFG control
                      system enables one to calculate the total amount of fugitive (uncaptured) emissions.
                      Using this method, I report total fugitive emissions of H2S from the landfill from
                      October 2016 to December 2019 in Appendix K.

[30]                  For Phase IVA, the inventory tables in Appendix K include Dr. Pietari’s calculations of
                      H2S generation that is attributable to the spent lime, which she accounted for in her
                      analysis. These tables also define my calculated emissions from spent lime.

[31]                  In my opinion, the calculations of H2S generated by the Jefferson Parish Landfill for the
                      period from October 2016 through December 2019 underestimate actual H2S emissions
                      from the JPL Site since they do not account for (a) emissions from multiple point
                      sources resulting from numerous design, construction, and operation and maintenance
                      issues associated with the gas extraction and leachate collection systems;
                      (b) emissions from the side slopes of the landfill phases, where there is no active gas
                      collection; and (c) the numerous wells that did not capture any LFG at various times
                      during which they were documented to be operating under positive pressure. LFG
                      extraction wells under positive pressure cannot collect gas and, therefore, capture
                      zones (ROIs) around these wells do not exist, an operational condition that decreases
                      collection efficiency.

[32]                  Appendix K presents emissions on a monthly basis. With respect to the emissions
                      attributable to the wastes addressed by Dr. Pietari, the monthly totals represent actual
                      estimates for each specific month, which consist of the midpoint between her lower and
                      upper bound calculation for each month. With respect to the H2S emissions that I have
                      calculated from all other sources of waste disposed at the JPL Site, the monthly totals
                      represent the annual total emissions for that year divided by 12.




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       3.         BACKGROUND
            3.1     Site Location and Description
[33]                The Jefferson Parish Landfill is an active municipal, industrial, and commercial solid
                    waste landfill located in Avondale, Louisiana on the west bank of the Mississippi River.
                    The Site is located at 5800 Highway 90 West, Westwego, LA, 70094, less than one mile
                    from neighboring residential communities to the north and northeast, and less than
                    1.5 miles from residential communities to the east (refer to Figure 3-1). The Site is
                    oriented on a northeast-southwest axis. It is bound to the northeast by BNSF Railway’s
                    railroad lines and to the southwest by Route 90 (though an undeveloped portion of the
                    site extends to the south of Route 90). The property abuts River Birch LLC (a waste
                    disposal facility) to the north, the Route 90 C&D Disposal Facility to the east, and
                    undeveloped land to the southwest, southeast, and south. Sauls Canal borders the
                    property to the north, separating the site from River Birch, LLC. The northeastern and
                    eastern portions of the Site are undeveloped, with five distinct surface water bodies
                    between Love Oak Boulevard and the BNSF Railway railroad lines. A series of canals
                    bisect and border the Site (refer to Figure 3-2).

            3.2     Summary of Landfill Operations
[34]                The Jefferson Parish Landfill has been accepting waste since 1982 and encompasses
                    346 acres, of which 324 acres have been developed for waste disposal (CEC, 2018).
                    Wastes disposed in the landfill have included, but are not limited to, light industrial
                    wastes, biosolids, coal ash, municipal solid wastes, as well as liquid wastes and lime.
                    The landfill operates under a solid waste permit (No. 9-0297-R1) (JPL, 2016a) and Title
                    V Air Quality Permit 7(1340-00140-V7) (Title V, 2016). The Landfill consists of six
                    phases, which are described in the paragraphs that follow.

[35]                Phase I encompasses approximately 75 acres within which 3,338,414 tons of waste
                    were placed beginning in about June of 1982 until about December of 1997. Phase I
                    was permanently capped and an LFG collection system was installed in the spring of
                    2000 (CEC, 2018). While a perimeter leachate collection system reportedly surrounds
                    Phase I (CEC, 2018), it is not clear when it was installed.

[36]                Phase II encompasses approximately 78 acres within which 2,021,721 tons of waste
                    were placed beginning in about August of 1988 until about October of 1993. Phase II
                    was permanently capped and an LFG collection system installed in the spring of 2000
                    (CEC, 2018). While a perimeter leachate collection system reportedly surrounds Phase
                    II (CEC, 2018), it is not clear when it was installed.

[37]                Phase IIIA encompasses approximately 73 acres within which 4,441,900 tons of waste
                    were placed beginning in about January of 1998 until about April 2013. Approximately
                    58 acres of Phase IIIA have a final cover and 15 acres have only an interim cover
                    system as they underlie Phase IVA. The leachate collection system was reportedly
                    installed during landfill construction, and the LFG collection system was installed in two
                    phases; 2005 and 2007 (CEC, 2018).




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[38]                Phase IIIB encompasses approximately 46 acres within which 2,945,115 tons of waste
                    were placed beginning in about August of 2005 until about May 2013. Approximately
                    31 acres have a final cover and 15 acres have only an interim cover as they underlie
                    Phase IVA. The leachate collection system was reportedly installed during landfill
                    construction, and the LFG collection system was installed in two phases: April 2014 and
                    June 2015 (CEC, 2018).

[39]                Phase IVA encompasses approximately 55 acres, within which 2,360,634 tons of waste
                    have been placed through the end of 2019. This phase is currently active. Phase IVA
                    fills the valley between Phases IIIA and IIIB, and overlies 15 acres in each of those two
                    phases (CEC, 2018). As of 2017, waste disposal had taken place over 20 acres
                    comprised of cells 20, 21, and 22, and the remaining 35 acres (comprised of cells 23,
                    24 and 25) were being constructed or planned for future disposal (Golder, 2017). An
                    LFG collection system was partially installed in cells 20, 21, and 22 beginning in
                    February 2018. The leachate collection system was reportedly installed during landfill
                    construction.

[40]                Phase IVB encompasses approximately 113 acres, which will be used for future
                    landfilling. This phase was permitted in 2004 (CEC, 2018).

           3.3      Existing Landfill Control Systems
[41]                Based on our review of available documents (Golder, 2017; CEC, 2018; CEC, 2019a),
                    existing landfill control systems that have historically been, and currently are in place,
                    include landfill cap, landfill gas control, leachate control, and storm water management
                    systems. Some of these systems are considered potential emission sources of odors or
                    gas, especially if not properly designed, constructed, or operated. These are described
                    briefly in the following sections.

           3.3.1    Landfill Cap System
[42]                As previously described, Phases I, II, IIIA, and IIIB have ceased operations and have
                    been capped. Phases I and II were reportedly capped with 24 inches of clay and 6
                    inches of vegetative cover (CEC, 2019a). The capped portions of Phases IIIA and IIIB
                    consist of a geosynthetic cap system (CEC, 2019a). The 15 acres in each of Phases IIIA
                    and IIIB, which are overlain by Phase IVA, were covered with an unspecified interim
                    cover system (CEC, 2019a).

           3.3.2    Landfill Gas Control System
[43]                In 2018, CEC indicated that “the LFG collection system has approximately 220 vertical
                    gas extraction wells and collectors spread over four waste mounds” (CEC, 2018, Phases
                    I, II, IIIA and IIIB). However, CEC also indicated that, as of 2018, approximately 197
                    of 226 wells were either not working or were working at less-than-optimal capacity
                    (CEC, 2018). Additional gas wells have been recently installed in Phases IIIB and IVA.
                    Vacuum to the wellfield is applied by either a gas processing plant operated by a third-
                    party gas developer (currently Mas Energy) or, when the gas processing plant is not
                    operational, the blower associated with the open flare station.

[44]                Liquids condensing from the landfill gas collection system are collected in traps and
                    sumps at low points in the header piping network. These liquids either self-drain or are



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                    pumped pneumatically into the common forcemain. The traps or drip legs, which do not
                    discharge to the forcemain, drain by gravity into the leachate collection system.

           3.3.3    Leachate Control System
[45]                Leachate, which is defined by LDEQ as “a liquid that has passed through or emerged
                    from solid waste and may contain soluble, suspended, or miscible materials removed
                    from such wastes” (LAC 33:VII.115), is generated within the landfill as a result of
                    waste degradation and rainwater infiltration. All Phases of the Jefferson Parish Landfill
                    have been permitted with individual leachate collection systems that contain a system
                    of pipes and pumps to remove the leachate from the landfill cells which is transported
                    to the Jefferson Parish Bridge City Wastewater Treatment Plant for proper treatment
                    (Aptim, et al, n.d.). Reportedly, the leachate collection system was designed in
                    compliance with the performance standards of LAC 33:VII.711.B4.f.i through f.xix.

[46]                As shown in Figure 3-4, collection systems have been installed in each of the phases:
                    (a) Phases I and II have a perimeter collection system consisting of a french drain with
                    a vertical riser for Phase I and side slope risers for Phase II, where there is no synthetic
                    liner over native clays that form the base of the landfill, as they predate RCRA Subtitle
                    D Municipal Solid Waste Landfill requirements; and (b) Phases IIIA, IIIB, and IVA all
                    include RCRA Subtitle D liner systems with underdrains for leachate collection. See
                    Attachment 29 Leachate Collection System (Aptim, et al, n.d.),

[47]                Generally, the leachate is pumped from numerous risers within or around each waste
                    mound into a common header system (to which the landfill gas condensate is also
                    pumped) and then routed via pipeline to the Jefferson Parish Bridge city Waste Water
                    Treatment Plant (CEC, 2020a).

[48]                It is our understanding that this is a closed leachate control system, but that a pond
                    was used for leachate and storm water management prior to being conveyed to the
                    POTW (SCS, 2018).

[49]                According to available information (CEC, 2020a), there are at least three leachate lift
                    stations at the JPL Site (Lift Station No. 1 near the flare, and Lift Stations No. 2B and
                    2C, south of Phase 2). The gas within the leachate collection system (e.g., collection
                    trenches, sumps or lift stations) is currently not being collected.

           3.3.4    Storm Water Management System
[50]                Aerial photos suggest that a number of ponds may be part of the storm water
                    management system: (a) southeast of Phase I and southwest of Phase II,
                    (b) northeast of Phase II within the permitted area for future development of Phase
                    IVB, and (c) east of all landfill phases, between Live Oak Boulevard and the railway
                    (refer to Figure 3-5). The area southeast of Phase I and southwest of Phase II was
                    previously utilized for the aeration and settling of solids present in landfill-generated
                    liquids (leachate, landfill gas condensate, and storm water runoff) prior to the transport
                    of liquids offsite to the local POTW (SCS, 2018). According to the October 2018 SCS
                    Engineers report, this pond underwent construction in 2018 to replace its liner (SCS,
                    2018).




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       4.          EVALUATION OF LANDFILL GAS GENERATION AND
                   EMISSIONS
             4.1         Previous Landfill Gas System Evaluations
[51]                     Since 2017, several reports by Golder Associates (Golder), Carlson Environmental
                         Consultants (CEC) and River Birch, LLC (River Birch) have been prepared in reference
                         to the systems that collect landfill gas collection system at the JPL Site.

             4.1.1       2017 Landfill Gas Collection and Control Plan – Golder Associates 2
[52]                     In January 2017, Golder prepared a Landfill Gas Collection and Control (GCCS) Plan for
                         submittal to LDEQ that included the incremental expansion of Phase IVA throughout
                         Cells 20 to 25. Golder proposed to construct 74 vertical LFGs extraction wells in Phase
                         IVA and connect them to the existing systems in Phase IIIA and Phase IIIB.

[53]                     According to Golder, the “vertical wells at Phase IV were designed to achieve a
                         theoretical radius of influence (ROI) 3 of 100 feet […] consistent with the existing GCCS
                         designed for Phases IIIA and IIIB” “with a target design LFG extraction vacuum of
                         about 12 inches of water column.” The LFG extraction wells were designed to a
                         minimum and maximum depth of approximately 28 feet and 64 feet, respectively. It
                         should be noted that this design ROI would not have achieved 100% capture of LFG as
                         the ROIs of adjoining wells do not overlap.

[54]                     The upper segment of the LFG extraction wells consists of a solid pipe extending 10
                         feet down from the ground surface, followed by a perforated pipe or screen from which
                         gas is extracted from the landfill media. According to Golder, “all vertical LFG extraction
                         wells are designed to be offset ten (10) feet above the protective cover layer of the
                         liner system.” I used this information to define leachate levels in the landfill (refer to
                         Sections 5.2.2.2 and 5.2.2.3).

[55]                     In order to evaluate the gas generated at Phase IIIA, Phase IIIB, and Phase IVA at the
                         JPL Site over time, Golder used a proprietary first-order kinetic model similar to the
                         USEPA LandGEM model, that accounts for three waste types (i.e., readily, moderately,
                         and slowly biodegradable waste). Different biodegradation parameters were assigned
                         to each of these waste categories. For comparative purposes, Golder also estimated
                         gas generation using the USEPA LandGEM model and conventional parameters. The
                         LandGEM gas generation estimates were over two times higher than predicted using
                         Golder’s proprietary model.

[56]                     Using the total gas generation estimates over time using its own model, Golder
                         assigned a collection efficiency of approximately 60% based on the total gas generation
                         estimates and actual landfill gas recovery during the period of 2011 through 2016.
                         Golder also determined that, if the LandGEM AP-42 default parameters were used to

       2
           (Golder Associates, 2017)
       3
           The radius of influence refers to the horizontal distance from a vertical LFG extraction well at which the induced
           vacuum pressure is zero. The ROI for an extraction well is a function of the vacuum applied to the well, the air
           hydraulic conductivity of the landfill media, and the well configuration (e.g., depth to the top of the well screen,
           screen length, type and thickness of cover materials).


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                         estimate total gas generation, the collection efficiency would be approximately 48%. It
                         should be noted, however, that based on the gas recovery data provided, the gas
                         collection efficiency between 2011 and 2016 gradually decreased from 68.9% to 47.5%
                         using the Golder gas generation estimate and from 29.5% to 19.6% using the
                         LandGEM AP-42 default parameters. This is evidence that the gas collection efficiency
                         of the LFG collection systems for Phases IIIA, IIIB, and IVA have decreased since 2011.

[57]                     In determining waste degradability and gas permeability, Golder estimated the relative
                         percentages of readily, moderately and slowly biodegradable waste and assigned a
                         different k value to each of these waste types. It is not clear, however, in determining
                         LFG collection efficiencies, whether Golder considered the reduction of well screens due
                         to the presence of leachate. As discussed later in this report, this condition has
                         significant effects on the collection of LFG.

[58]                     Significantly, Golder recommended that, before installing its proposed new wells, the
                         following remedial actions should be taken: (a) installation of horizontal gas collectors
                         in close proximity to the location of the surface emission exceedance; (b) dewatering of
                         wells with submerged sections of perforated pipe (well screen) in order to increase LFG
                         flow and improve LFG quality; and (c) improvements to the gas control system to
                         manage condensate. These recommendations show that at least since 2017, it has
                         been apparent that the LFG extraction system was deficient due to the high levels of
                         liquids within the landfill phases.

             4.1.2       2018 Landfill Gas System Assessment – CEC 4
[59]                     In May 2018, CEC was retained by the Parish to conduct a field assessment of the LFG
                         extraction system, the results of which were set forth in CEC’s report dated August 15,
                         2018 (CEC, 2018). In addition to addressing the conditions of the LFG extraction
                         system, CEC also discussed odors and H2S emissions at the JPL Site.

[60]                     According to CEC, the overall wellfield condition was considered to be below average
                         with notable issues, including old and poorly maintained wellheads, broken valves, bent
                         and leaning gas wells, inoperable gas well pumps and air compressors, unsuitable
                         piping materials, and holes in the cap system. Reportedly, several wells are equipped
                         with QED AP-4 pneumatic pumps which discharge to a common liquid force main with
                         other site liquids (e.g., leachate, condensate), which CEC suggested be modified to
                         provide two separate forcemains. As presented in Table 4-1, of the 118 gas wells
                         inspected by CEC (which represent 52% of the total), 77% either were not equipped
                         with a pneumatic pump or had an inoperable pump. Ideally, all gas wells should be
                         equipped with a pneumatic pump to lower leachate levels within the extraction well and
                         maximize landfill gas capture.




       4
           (CEC, 2018)


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                            Table 4-1:     Pneumatic Well Inventory (CEC, May 2018)

                                           Number of Wells with Pneumatic        Number of Wells with Operational
                              Phase
                                           Pumps / Total Inspected by CEC              Pneumatic Pumps

                                 I                      14 / 25                                 9 / 14

                                 II                     15 / 23                                13 / 15

                                IIIA                     4 / 27                                 3/4

                                IIIB                     5 / 28                                 2/5

                            IVA (active)                 0 / 15                                 0/0


[61]                    As part of this field assessment, CEC and APTIM measured liquid (leachate) levels in
                        the LFG extraction wells. With this information, as well as the location and
                        configuration of the LFG extraction wells (e.g., well depth and screen length, which is
                        the length of perforated pipe that allows extraction of LFG in each well), CEC developed
                        ROI maps for each of the landfill phases based on original construction. CEC developed
                        these ROI maps under two conditions: (1) ideal hypothetical conditions, under which
                        the existing gas well screens are not blocked by liquids; and (2) conditions under which
                        the existing gas well screen contains liquids, conditions that CEC found to exist in 2018.

[62]                    Using measurements of liquid (leachate) levels obtained by CEC and APTIM, along with
                        information concerning the location and depth of the extraction wells and other
                        information, CEC determined available screen lengths to extract LFG for wells in every
                        phase of the JPL. In reference to the available screen length for gas recovery at the
                        extraction wells, CEC findings were summarized as follows:

                        •     As originally constructed, the screen length for the wells averaged 18 feet.

                        •     At the time of its site assessment in 2018, the average screen length per vertical
                              well was only 14 feet, without considering liquid impacts.

                        •     Considering liquid levels in the landfill, the available screen length for gas
                              extraction was only 9 feet per vertical well.

[63]                    As presented in Table 4-2, at least 87% of the extraction wells (197 of the 226
                        existing gas control system vertical extraction wells) were partially or totally blocked by
                        liquids as of 2018. Further, CEC concluded that “the site has 95 of 225 [sic] total
                        vertical wells with greater than 50% of their available perforated pipe covered by liquid
                        and of these 45 wells have over 100% blocked by liquid”, completely restricting the
                        extraction of gas. Overall, CEC estimated that the capacity of the LFG system at the
                        Landfill had been reduced by up to 50%.




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                         Table 4-2:          Landfill Gas Extraction Well Configuration (CEC, May 2018)

                                                                                              Existing         No. Wells
                                      No.
                          Phase                 Well Diameter           Wellhead Type        Well Depth      Blocked with
                                     Wells
                                                                                               Range           Liquids1

                         I             50               6             2” Landtec Accuflo      24 to 54 ft          50

                         II            34               6             2” Landtec Accuflo      19 to 41 ft          34

                         IIIA          70               6             2” Landtec Accuflo      12 to 47 ft          51
                                                                      2” QED o-plate

                         IIIB          57               6             2” Landtec Accuflo      20 to 61 ft          52
                                                                      2” QED o-plate

                         IVA           15               6             2” QED o-plate          29 to 56 ft      10 (refer to
                         (active)                                                                                Note 2)

                                        2     Unknown diameter        8-inch butterfly        NA            NA
                                              and length              valve
                                              horizontal wells

                         Notes:
                         1
                              Wells blocked with liquids refer to wells that extend into the leachate within the phase as
                              determined by APTIM’s measurements of the depth to liquid at each well in Phases I, II,
                              IIIIA IIIB, and by CEC in Phase IV.
                         2
                              The number of wells blocked with liquids may be greater than presented, as CEC was unable
                              to measure depths at 4 of the 15 wells.


[64]                    CEC concluded that the landfill is wet, with subsurface liquids impacting the limited
                        pathways of available LFG recovery, thus contributing to fugitive gas emissions and
                        odors. The data evaluated by CEC indicated that liquid removal has not been successful
                        at the facility as most of the liquid pumps are not in operation or provide minimum
                        liquid withdrawal due to deficiencies in both the landfill gas condensate and leachate
                        collection pumping systems. CEC also noted significant deficiencies in the maintenance
                        and operation of these systems and provided numerous recommendations to improve
                        them.

[65]                    CEC’s maps depicting the individual ROIs of the wells within each landfill phase clearly
                        indicate inadequate coverage of the landfill gas collection system and significant areas
                        of uncontrolled surface (i.e., fugitive) emissions in all landfill phases. CEC’s assessment
                        of the theoretical effective radius of influence of the gas extraction system concluded
                        that: (a) the gas extraction system has lost approximately 12% of its total well depth
                        since original installation; and (b) the elevated leachate levels have reduced the ability
                        of the existing gas control system by 25 to 50%. Moreover, as presented by CEC, in all
                        areas, the effective radius of influence of the gas extraction wells is significantly lower
                        than the design 100-foot radius, resulting in significant areas where uncontrolled
                        landfill gas emissions are taking place (refer to Figure 3-3).




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[66]                    In terms of surface emission monitoring, CEC observed damage to the cap in Phase
                        IIIB in areas where the landfill gas control system was installed, and they measured
                        elevated methane concentrations around wells and pipe penetrations, indicating
                        inadequate booting of pipes. In addition, CEC also observed soil cracks in Phases I, II,
                        IIIA and IIIB, H2S scaling in gas well risers, and back residue in soils which is indicative
                        of H2S. Further, as summarized in Table 4-3 below, CEC conducted a surface emission
                        scan over a 30-m serpentine path across all waste disposal areas. Methane was
                        detected in all phases of the landfill, but particularly in the closed Phase IIIB where
                        methane concentrations measured with a TVA-1000B peaked at the instrument’s upper
                        range (i.e., 10,000 ppm). These levels are indicative of an ineffective cap system (CEC,
                        2018). CEC did not identify where the specific methane emission readings were made,
                        but simply provided a range of concentrations.


                         Table 4-3:       Ground Surface Concentrations (CEC, May 2018)

                                                                                         Hydrogen Sulfide
                              Phase           Methane Concentration Range
                                                                                        Concentration Range

                                    I                 0.76 to 4.85 ppm                       Not monitored

                                II                    2.3 to 23.97 ppm                       Not monitored

                               IIIA                   0.94 to 2.97 ppm                       Not monitored

                               IIIB                  1.78 to 10,000 ppm                      Not monitored

                           IVA (active)             10.10 to 10,000 ppm                    0.045 to 8.5 ppm


[67]                    Using Drager Tubes, CEC detected concentrations of H2S in excess of 2000 ppmv
                        (above the sorbent tube’s upper range) in some of the extraction wells in Phase IVA.
                        CEC also took H2S samples at the blower inlet at the LFG processing plant and
                        observed concentrations ranging from 525 to 1050 ppmv. CEC had previously alerted
                        the Parish to the health and safety concerns regarding the detected levels of H2S and
                        provided general recommendations to address the elevated H2S, including, but not
                        limited to, maximizing LFG collection, reducing liquid levels within the landfill, and
                        sealing soil cracks, survey risers, and other penetrations of the cover system.

[68]                    CEC recommended a series of measures to improve LFG extraction by reducing the
                        liquid levels within the landfill media and expanding the gas control system, including
                        the installation of additional LFG extraction wells between existing wells. CEC noted
                        that “…the reduction of subsurface liquids will be a long process, requiring
                        infrastructure upgrades, O&M procedures updates, and requires the steady removal of
                        more liquids from the waste than are entering...”

[69]                    To estimate the amount of gas being generated at the JPL Site, CEC used the USEPA
                        LandGEM model using first-order kinetic constants (refer to Section 5.1) for
                        conventional municipal landfills (i.e., k of 0.05 1/yr and Lo of 100 m3/Mg). Though CEC
                        noted LFG system problems including high level of liquids within the landfill media and
                        classified the JPL Site as a “shallow wet site”, adjustments to k or Lo that would more


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                          accurately reflect the wet conditions were not considered. Using the assumption that
                          the LFG collection system operated at a 50% recovery efficiency, CEC stated that the
                          LFG collection system had the potential to recover approximately 1,860 scfm in 2018.
                          At the time of the assessment, the LFG system was recovering approximately 900 to
                          1,000 scfm, which would mean that about 1,000 scfm of LFG were being released as
                          uncontrolled fugitive emissions.

[70]                      With respect to the well field operation, CEC reported that the blower vacuum was not
                          properly controlled, resulting in fluctuations in vacuum (about 10% in the week CEC
                          assessed site conditions), which would affect the ability to fine-tune the wellfield. In
                          fact, CEC noted locations of reduced vacuum throughout the wellfield, wells with
                          positive static pressure and fully open wellhead valves, and recommended that the
                          system vacuum be increased from 30 to 40 inches of water column.

[71]                      While 30 inches of vacuum were applied at the blower station, only 74% of gas wells
                          monitored by CEC (52 of the 70) had system vacuums of at least 12 inches of water.
                          Moreover, based on methane concentration changes at the wellheads, CEC concluded
                          that vacuum at the wellheads had been adjusted by more than 200% during each
                          monitoring round, which far exceeds landfill gas industry standards of less than 10% to
                          prevent overpulling a wellfield and subsurface landfill fires.

[72]                      The data reviewed by CEC indicate the presence of elevated (more than 5%) oxygen in
                          33% of the landfill gas wells and elevated balance gas (i.e., nitrogen) in 45% of the
                          landfill gas wells, which suggest excessive vacuum was being applied to these wells.
                          Collectively the vacuum data suggest an unbalanced wellfield that could result in
                          uncontrolled emissions and subsurface landfill fires.

[73]                      The 2018 CEC assessment clearly identified the inadequacy of the landfill gas collection
                          system and significant deficiencies in liquid (leachate) collection in the landfill, which
                          resulted in leachate levels so high that they blocked the screens of the LFG extraction
                          wells, thereby impeding any effective collection of gas that was being generated and
                          allowing this gas to be emitted outside the landfill media. The report also identified
                          extremely high concentrations of H2S in several landfill gas wells of Phase IVA.

             4.1.3        2019 High BTU Landfill Gas Utilization Plan – CEC 5
[74]                      In May 2019, CEC prepared a report to provide recommendations for the utilization of
                          high BTU landfill gas recovered from the JPL Site to generate Renewable Natural Gas
                          (RNG) 6. In this report, CEC proposed the rehabilitation of the LFG extraction system in
                          stages and projected that each improvement would result in increased collection
                          efficiencies.

[75]                      Although CEC found that there has been some improvement in the LFG extraction
                          system since 2018, the existing infrastructure was in poor condition and required


       5
           (CEC, 2019a)
       6
           Jefferson Parish entered into a ”gas rights” contract with Renewable Energy of Jefferson, LLC (REJ) which allows
           REJ to utilize the LFG collected from the JP landfill. REJ intended to start processing the LFG at the River Birch
           Renewable Natural Gas (RNG) plant in late spring 2019.


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                        improvements to meet RNG gas quality specifications, adequately control landfill gas
                        emissions, and address LFG-related odors and H2S safety concerns.

[76]                    CEC indicated that “during the 2019 field inspection, CEC personnel smelled H2S gas in
                        the Phase IVA area and observed visible soil cracks with black oxidized residue, which
                        is indicative of H2S gas.” CEC detected H2S concentrations between 45 ppm and 60
                        ppm at the ground level at all tested cracks.

[77]                    During the 2019 CEC field inspection, “several gas wells in Phase IVA were
                        experiencing reduced system vacuum and had positive gas pressure.” CEC concluded
                        that it was “evident that the LFG collection system in Phase IVA was underperforming
                        and may require additional collectors and other modifications to effectively control the
                        H2S emissions”.

[78]                    Landfill gas generation at varying assumed gas recovery efficiencies was estimated for
                        each of the landfill phases using the USEPA LandGEM model and first-order kinetic
                        constants for conventional landfills (i.e., k of 0.05 1/yr and Lo of 100 m3/Mg).

[79]                    With the information collected, CEC estimated costs to rehabilitate the gas and leachate
                        collection system in four stages at over $8 million (rather than rebuilding the entire
                        LFG collection system to high BRU standards at a cost of over $11 million). Stage 1,
                        Stage 2, Stage 3, and Stage 4 include the rehabilitation of Phase IVA-IIIB, Phase IIIA,
                        Phase I, and Phase II, respectively (CEC, 2019a). Specifically, the following significant
                        improvements were proposed for each phase:

                        •   Stage 1: CEC indicated that the existing LFG collection system in Phase IIIB and
                            IVA required additional improvement due to low system vacuum, potentially
                            damaged or ineffective buried gas header piping, leaning gas wells, and
                            header/lateral piping that is undersized for the potential gas flows. Proposed
                            improvements included new gas collectors and modifications to the existing gas
                            infrastructure in both phases. Stage 1 was the largest proposed expansion and
                            consisted of installing approximately 46 new vertical gas wells, 10 new shallow
                            vertical gas wells, 12 replacement vertical gas wells, over 9,000 linear feet of gas
                            headers, 10,000 linear feet of gas laterals, and over 5,000 linear feet of horizontal
                            gas collectors and toe drains, along with additional phase upgrades/improvements.
                            CEC stated that Phase IVA currently has the highest potential LFG-related odors,
                            which could be reduced through these recommended measures. Stage 1 has been
                            implemented and CEC presented the as-built drawings in November 2020 (CEC,
                            2020b).

                        •   Stages 2-4: Stages 2, 3 and 4 would involve (in Phases IIIA, I and II, respectively)
                            installing a high-BTU overlay LFG collection system along with the necessary gas
                            pipeline network to connect this system to the Renewable Energy of Jefferson, LLC
                            (REJ’s) Renewable Natural Gas (RNG) plant. If implemented in its totality, Stages
                            2-4 would entail the installation of approximately 67 new vertical gas wells, 13,400
                            linear feet of a 12” gas header, over 17,000 linear feet of gas laterals, and
                            additional phase upgrades/improvements.




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[80]                     The significant and costly rehabilitation plans proposed by CEC to extract LFG from the
                         different landfill phases indicate the magnitude of the deficiencies in the collection of
                         landfill gas at JPL Site that still existed in 2019, deficiencies which have resulted in high
                         emissions of gases generated within the landfill media.

             4.1.4      2019 Assessment of Jefferson Parish Landfill Gas Field – CEC and River
                        Birch 7
[81]                     In an analysis dated May 22, 2019, River Birch identified and described the potential
                         consequences of various problems at the JPL Site, based on its own assessments and
                         those of CEC concerning the LFG extraction and leachate collection systems. These
                         issues are summarized below:

                         1.   “The Parish captures only 37.5% of the entire landfill's gas.” River Birch states that
                              the Landfill may be producing as much as 4,400 scfm of landfill gas and only
                              collects 1,650 scfm.

                         2.   “Methane emissions in Phase IVA exceed LDEQ limits (i.e., 500 ppmv) in more than
                              30 locations, and in some locations by more than 1,000%.”

                         3.   “Hydrogen sulfide levels in Phase IVA present a serious safety concern, including
                              the potential of ’nearly instant death’." Concentrations of H2S in some wells exceed
                              2,000 ppm.

                         4.   Of all LFG extraction wells at the landfill, 43% fail to meet LDEQ requirements for
                              oxygen content (i.e., less than 5%) and/or pressure (i.e., maintain continuous
                              negative pressure).

                         5.   “The leachate riser configuration on the entire landfill creates a risk of fire or
                              explosion.” Methane emission from leachate risers have been detected during
                              normal operation. Having methane in proximity to electric systems which are near
                              the leachate risers creates a risk of fire or explosion.

                         6.   “One of the two new 10-inch header pipes around Phases IIIB & IVA was installed
                              incorrectly.” River Birch states that one of the new landfill gas liquid headers was
                              neither connected to the existing landfill gas liquid system nor preinstalled with
                              fittings for future attachments, and that extensive excavation is required to correct
                              this deficiency.

                         7.   “38% of the gas wells on the entire landfill have oxygen levels exceeding 5%,
                              creating the risk of subsurface fires.”

                         8.   50% of the vertical wells in Phase IVA lack sufficient vacuum to collect gas. In
                              particular, eleven of the LFG extraction wells have positive pressure due to the lack
                              of vacuum, which results in not collecting gas, and allowing emissions and odors.

                         9.   “13% of the leachate risers on the entire landfill are not working.” This condition
                              reduces the ability of the leachate collection system to reduce the leachate levels in
                              the LFG extraction wells, which impedes gas extraction.




       7
           (River Birch, 2019)


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                        10. 17% of the pump air regulators and 53% of the pump liquid discharge hoses and
                            valves on the entire landfill must be replaced. This condition reduces the ability to
                            withdraw leachate from the landfill and increases the possibility of leachate leaks.

                        11. “In 41 % of the LFG extraction wells, more than 50% of the vertical well
                            perforations (screens) are blocked by liquids, inhibiting gas collection.” 20% of the
                            screens of these vertical wells are completely blocked by liquids, preventing gas
                            extraction and increasing emissions and odors.

                        12. “63% of the gas well pumps on the entire landfill should be changed due to air
                            leaks in the pumps and liquid in the well.” In addition, “there are also wells with
                            pumps that are flooded in and therefore inoperable,” which “can cause gas
                            emissions and odors.”

                        13. To extract liquids from the wells, allow more gas extraction and reduce emissions
                            and odors, “38% of the wells without pumps on the entire landfill need new
                            pumps.”

[82]                    From this report, it is evident that the LFG extraction system at the JPL Site continued
                        to perform inadequately primarily as a result of high liquid levels within the landfill
                        media and improper construction and maintenance of new devices incorporated to
                        remediate a multitude of operational issues. These conditions have significantly
                        contributed to gas emissions and odors.

            4.1.5      Summary of the Landfill Gas and Leachate Management at the Site
[83]                    The information provided by Golder, CEC, and River Birch in the reports summarized
                        above reveals that the landfill gas and leachate management systems at the JPL Site
                        have been inefficiently operated and maintained, requiring significant infrastructure
                        improvements to correct deficiencies, and that this has contributed to increased gas
                        emissions and odors. The existing landfill gas and leachate control systems are
                        improperly maintained, antiquated and inadequately sized, and/or non-performing.
                        Specifically:

                        1.   CEC concluded that the landfill is wet, with subsurface liquids impacting the limited
                             pathways of available LFG recovery, contributing to gas emissions, and site odors.
                             The gas control system is not performing as efficiently as intended, providing
                             inadequate vacuum across the landfill phases primarily due to leachate blocking of
                             the gas extraction wells due to deficiencies in both the landfill gas condensate and
                             leachate collection pumping systems. Even at gas wells equipped with pneumatic
                             pumps to withdraw liquids, equipment has been non-operational or is not
                             performing as intended due to operational and maintenance failures. CEC estimated
                             that in 2018, the ability of the LFG wells to extract gas had been reduced up to
                             50%.

                        2.   The systems have been poorly maintained and operated (e.g., old and damaged
                             wellheads, bent and leaning gas wells, inoperable pneumatic pumps and air
                             compressors, partially blocked wells [in 2019, CEC reported “the site has 95 of 225
                             [sic] total vertical wells with greater than 50% of their available perforated pipe
                             covered by liquid”] and unbalanced wellfield operation), and inadequate vacuum is




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                             applied throughout the wellfield. These conditions result in increased gas emissions
                             and odors.

                        3.   The ROI analysis performed by CEC for each of the landfill phases indicates an ROI
                             significantly less than the design ROI of 100 ft used for Phases IIIA, IIB, and IVA.
                             Further, the capture zones of the existing LFG extraction wells do not provide
                             adequate coverage to extract most of the gas generated in the landfill, even in the
                             absence of liquids within the wells, which result in significant areas of uncontrolled
                             surface emissions in all landfill phases.

                        4.   For its emissions calculations, Golder assigned a 60% collection efficiency based on
                             its estimates of the total gas generation. However, this collection efficiency is
                             significantly greater than the actual landfill gas recovery reported by Golder for the
                             period of 2011 through 2016, which indicates that gas collection efficiency
                             gradually decreased from 68.9% to 47.5% using the Golder gas generation
                             estimate. In 2019. River Birch reported that the “The Parish captures only 37.5% of
                             the entire landfill's gas.”

                        5.   The CEC analyses clearly indicates that there are too few LFG extraction wells to
                             provide coverage for the entire landfill area that requires gas collection. The Stage
                             1 improvements to the existing LFG collection system in Phase IIIB and IVA have
                             improved collection, but the existing infrastructure is still in poor condition and
                             requires additional improvements to control landfill gas emissions, and address
                             LFG-related odors and H2S safety concerns. The significant and costly proposed
                             rehabilitation plans indicate the magnitude of the deficiencies in the collection of
                             landfill gas at JPL Site, deficiencies which have resulted in relatively high emissions
                             of gases generated within the landfill media.

                        6.   The landfill cap system has been breached in several locations and shows evidence
                             of landfill gas releases (i.e., odors, elevated concentrations of methane and H2S
                             measured across the landfill surface, soil cracks with visible black oxidized residue
                             indicative of H2S gas, elevated H2S concentrations, and H2S scaling in well risers).
                             Further, River Birch stated that 43% of all LFG extraction wells at the landfill fail to
                             meet LDEQ requirements for oxygen content (i.e., less than 5%) and/or pressure
                             (i.e. maintain continuous negative pressure), indicating the likelihood of
                             atmospheric air intrusion into the landfill media.

                        7.   The concentrations of H2S in Phase IVA measured in LFG extraction wells are
                             extremely high, reaching levels in excess of 2,000 ppm (the equipment’s upper
                             range).

                        8.   Landfill gas generation estimates have been performed by CEC and Golder using
                             LandGEM and other models, but these models have ignored the fact that the landfill
                             is wet, which significantly affects LFG generation rates.

[84]                    The reduction of LFG collection efficiency due to leachate has been evident for many
                        years at the JPL Site, based on our review of numerous documents dating back to
                        2013, including field inspection, field monitoring, and maintenance and operation
                        reports. Appendix C of this report presents a brief description of additional operational
                        issues associated with the LFG extraction wells and leachate risers.




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[85]                    Operational issues related to the gas wells included, but are not limited to, pressure
                        exceedances, oxygen exceedances, high leachate levels, limited gas flow, gas odors,
                        H2S detections, distressed vegetation around wells, damaged or missing
                        components (e.g., liner boot, pump, clamps, seals), and surface emission monitoring
                        (SEM) exceedances.

[86]                    Operational issues related to the leachate collection and landfill gas condensate
                        management systems included, but are not limited to, drainage issues on the
                        condensate sumps, leachate and landfill gas leaks in conveyance lines and/or risers,
                        plugged conveyance lines, detection of LFG odors and H2S, damaged or missing
                        components (e.g., gauges, pumps, riser seals, valves, transducers, flanges), SEM
                        exceedances, and positive pressures at the LFG extraction wells.

[87]                    In my opinion, the numerous design, construction, operation and maintenance
                        problems associated with the LFG extraction and leachate collection systems at the JPL
                        have resulted in multiple sources and high quantities of uncontrolled LFG emissions.
                        The primary cause of these LFG emissions has been the elevated liquid levels within the
                        landfill media that inhibit the adequate extraction and control of landfill gas that is
                        being generated within the landfill media. This results in uncontrolled fugitive
                        emissions. The design, construction, operation and maintenance problems also have
                        led to uncontrolled LFG emissions from various point sources on the landfill site
                        including, but not limited to, damaged or missing LFG and/or leachate collection
                        systems infrastructure (e.g., liner boots, LFG collection system well heads, open
                        manholes or risers, conveyance lines).

            4.2         Ramboll Landfill Gas Sampling and Monitoring Activities
[88]                    Ramboll conducted a site inspection, including LFG sampling and monitoring activities
                        from November 4 to 8, 2019. These activities and the results of that investigation are
                        presented in Appendix B. I generally oversaw the work conducted by and for Ramboll
                        during this period. Landfill gas sampling and monitoring activities were conducted by
                        Ramboll between November 4 and 8, 2019 to include UAS Fugitive Methane Emission
                        Mapping, UAS Topographical Survey and Aerial Imagery, Surface Emission Monitoring,
                        Field Screening of Potential Fixed Sources, Landfill Gas Sampling for Chemical Analysis,
                        and Landfill Gas Sampling for Odor Measurements.

[89]                    During this investigation, most of the LFG extraction wells in all phases of the landfill
                        were monitored using Landtec GEM 5000 Plus, a field instrument that samples and
                        analyzes for methane (0-100%), carbon dioxide (0-100%), oxygen (0-25%), carbon
                        monoxide (0-2000 ppm), H2S (0-500 ppm), and static and differential pressure.

[90]                    The results from these monitoring events were processed and mapped to evaluate the
                        areal distribution of methane, carbon dioxide, oxygen, carbon monoxide, H2S, and
                        vacuum pressure for each phase of the landfill. Specifically,

                        1.   As shown in Figure 4-1A, applied pressure at the landfill and within the various
                             landfill phases was non-uniform. In Phase I, an average pressure of -47.92 inches
                             of water (in H20) was applied, which is significantly higher than the average
                             pressure measured at any other landfill phase (between -20.45 and -6.04 in H20).


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                      Importantly, while pressure measurements in Phase I were generally between -40
                      and -50 in H20, pressure measurements in the other phases varied greatly (from –
                      47.18 to 6.3 in H20 in Phase II, from -18.1 to -0.27 in H20 in Phase IIIA, from –
                      34.1 to 6.5 in H20 in Phase IIIB, and from –32.5 to 6.5 in H20 in Phase IVA).
                      Further, positive or near positive pressures were measured in various landfill gas
                      collection wells in Phases II, IIIA, IIIB and IV. Collectively, these data indicate an
                      ineffective operation of the landfill gas control system.

                 2.   The peak methane content, even in the oldest of landfill phases (Phase I), is
                      relatively high (peak measurement of 69.9% in Phase I, 76.3% in Phase II, 67.4%
                      in Phase IIIA, 65.9% in Phase IIIB, and 70.8% in Phase IVA) indicating the
                      presence of areas of active anaerobic biodegradation of waste. However, as shown
                      in Figure 4-1B, the range of methane concentrations varies greatly within each
                      landfill phase, with areas having methane concentrations as low as between 0.1
                      and 2.1%. These areas of low methane production are indicative of either the
                      presence of large amounts of inert waste in those areas, or issues with the
                      operation of the landfill gas control system (as detailed below).

                 3.   Carbon monoxide was detected at low levels in all landfill phases (refer to
                      Figure 4-1C), with the highest concentrations measured in Phase IIIA (80 ppm).
                      Low levels of carbon monoxide, such as those measured at the Site, are typically
                      encountered in landfill gas and are not considered indicative of subsurface landfill
                      fires (refer to Section 5.1).

                 4.   As presented in Figure 4-1D, with the exception of isolated areas, carbon dioxide
                      concentrations in Phases IIIB and IVA (averaging 31.9%, and 38.8%, respectively)
                      are slightly below the typical range of 40-60% (refer to Section 5.1). In Phase
                      IIIA, carbon dioxide concentrations (averaging 26.8%) are even lower than the
                      typical range, and in Phases I and II, there are significant areas with carbon dioxide
                      concentrations well below 20%. Collectively, the methane and carbon dioxide data
                      at the gas wells would add up to almost 100% of the landfill gas in a properly
                      operated landfill. However, as presented in Figure 4-1E, large areas in each of the
                      landfill phases (i.e., about 98% in Phase I, 94% in Phase II, 93% in Phase IIIA,
                      45% in Phase IIIB, 24% in Phase IVA) have less than 90% carbon dioxide and
                      methane combined. These data indicate an ineffective landfill gas control system.

                 5.   Hydrogen sulfide was detected in all landfill phases above the typical odor threshold
                      range of 0.0005 to 0.010 ppm (ATSDR, 2016) or 0.2 to 2.0 μg/m3 (0.00014 to
                      0.0014 ppm; WHO, 2020) (refer to Figure 4-1F). The H2S concentrations were
                      generally consistent between all landfill phases (less than 100 ppm) except Phase
                      IVA, where H2S concentrations were mostly above 1,000 ppm. 8 In isolated areas
                      within Phases I, II and IIIB, H2S concentrations ranged between 109 and 497 ppm.
                      These data suggest that Phase IVA received a unique sulfate-rich waste stream, as
                      H2S levels in Phase IVA were an order of magnitude greater than in the other
                      phases.




8
    Ramboll’s field measurements in Phase IV were complemented with the 2018 CEC measurements for hydrogen
    sulfide.


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                        6.   Oxygen in excess of 5% was measured in a very large quantity of gas wells within
                             all landfill phases, which is a violation of 40 CFR § 60.753(c), which requires that
                             the landfill owner or operator “Operate each interior wellhead in the collection
                             system with a landfill gas temperature less than 55 °C and with either a nitrogen
                             level less than 20 percent or an oxygen level less than 5 percent.” As shown in
                             Figure 4-1G, elevated oxygen was measured primarily on along the perimeter of
                             the crown of the landfill in Phases IIIA, IIIB and IVA, with isolated areas within the
                             interior of these landfill phases having oxygen concentrations as high as 20.2%
                             (atmospheric air is 21% oxygen). In Phases I and II, elevated oxygen was
                             measured throughout the landfill phase, with only isolated areas conforming to the
                             less than 5% oxygen requirement. While Phases I and II ceased to receive waste in
                             1997 and 2000, respectively, it could be hypothesized that the elevated oxygen
                             levels could be due to the landfill being in the maturation phase when most organic
                             materials have been consumed and no methane is generated (refer to Section
                             5.1). However, this hypothesis is very unlikely. As presented in Figure 4-1B,
                             relatively high methane concentrations were measured in significant portions of
                             Phases I and II, especially at wells that were not subject to high vacuum pressure.

                             The elevated oxygen levels and high vacuum pressures measured at LFG extraction
                             wells in all landfill phases are further evidence of ineffective landfill gas control
                             system operation that significantly inhibit anaerobic decomposition and, therefore,
                             methane generation.

[91]                    Ramboll mapped concentrations of LFG parameters collected during the November
                        2019 field sampling and monitoring activities (refer to Section 4.2). The presence of
                        relatively high methane concentrations in some locations indicates that there is active
                        anaerobic biodegradation of waste in all phases of the landfill, and that the existing
                        landfill gas collection system is ineffectively operated, maintained and/or designed.
                        When methane or H2S are not present, this is primarily due to atmospheric air
                        infiltration induced by high vacuum pressure exerted to some of the wells. Multiple
                        lines of evidence, including the mapping of pressure, oxygen, and a combination of
                        oxygen and carbon dioxide indicate that the existing landfill gas collection system is not
                        being effectively operated or that its design or current state is inadequate.

[92]                    The H2S mapping indicates that, while typical sulfate-rich waste streams have been
                        historically deposited in certain areas of each landfill phase, Phase IVA received a
                        unique sulfate-rich waste stream that has resulted in significantly higher H2S
                        generation from solid waste placed in this area, with concentrations of H2S in landfill
                        gas which is at least one order of magnitude higher than the concentrations in other
                        areas.

            4.3         Gas Emission Sources at the Site
[93]                    Given the deficient conditions of the LFG extraction system, there are many potential
                        point and area sources of gas emissions at the JPL Site. These include:

                        1.   Area source emissions as a result of low efficiency of the LFG extraction system;

                        2.   Gas emissions from the liquid waste solidification process;




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                        3.   Point source gas emissions from defective LFG extraction wells and conveyance
                             pipelines;

                        4.   Point source gas emissions from leachate and condensate risers; and

                        5.   Gas emissions from leachate evaporation.

[94]                    I evaluated each of these potential sources and developed methods to characterize gas
                        emissions from these sources. I have concluded that for the period ranging from late
                        2016 to the end of 2019, the most significant sources of emissions were: (1) area
                        source emissions as a result of low efficiency of the existing LFG extraction system;
                        and (2) H2S generated from the liquid waste solidification process. Point source gas
                        emissions (e.g., from damaged or missing LFG collection system well heads, open
                        manholes or risers, conveyance lines) and emissions from leachate evaporation
                        unquestionably occurred and contributed to total JPL emissions. However, I did not
                        reach a conclusion concerning the quantity of emissions from these sources due
                        primarily to the lack of continuity of these emissions over time and locations.




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       5.          LANDFILL GAS GENERATION MODELING FROM
                   SOLID WASTE
             5.1         Methods for Estimating Landfill Gas Generation from Solid Waste
             5.1.1      Composition of Landfill Gas
[95]                     Gases are generated in a landfill as a result of the biodegradation of the organic portion
                         of the waste. The composition and characteristics of landfill gas primarily depend on
                         the following: (a) the microbial system; (b) the substrate that is being biodegraded;
                         (c) site-specific variables, such as the amount of oxygen that can reach the waste
                         media; and (d) the moisture content of the media. LFG is typically described as
                         consisting mainly of methane and carbon dioxide, with less than one percent of other
                         trace gas constituents, including H2S and other volatile organic compounds.

[96]                     The composition of landfill gas varies over time because the decomposition of bacteria
                         in landfill waste occurs during successive phases of biodegradation. 9 LFG composition
                         changes with each of the phases of biodegradation. Waste is disposed in landfills at
                         different locations, typically over the course of several decades, so waste in a landfill
                         may undergo several biodegradation phases in differing areas of the landfill at once.
                         Figure 5-1 shows the typical gas composition over time for a mass of biodegradable
                         waste after its placement in a solid waste landfill. In general, the duration of each
                         individual phase of landfill gas generation varies depending upon the physical and
                         biochemical characteristics of the media, such as particle size, degree of compaction,
                         distribution of the organic components in the media, the availability of nutrients, the
                         moisture content, pH, and temperature. The methanogenic activity occurring during
                         Phase IV is the dominant process after landfill closure, as oxygen is no longer
                         introduced in the media and the organic acids produced during Phase III are consumed
                         by anaerobic bacteria, resulting in a more neutral pH landfill environment.

[97]                     Prior to and following landfill closure, atmospheric air may infiltrate the soil media by
                         advection when gas extraction systems impose excessive vacuum pressures. The exact
                         depth and composition of the LFG and oxygen mixture will depend on many factors,
                         such as gas production within the media, soil permeability, thickness of the final cover
                         system, and reactions that can occur between the gas, soil, and air. With the
                         introduction of oxygen to the landfill media, methane and other gases are oxidized, a
                         situation which will disrupt anaerobic processes and can potentially create subsurface
                         landfill fires. To avoid landfill fires, waste is capped, and LFG extraction systems are
                         operated at vacuum rates that prevent air infiltration. When leachate levels are high
                         within the landfill media, the operation of LFG extraction systems is very difficult, as
                         reducing applied vacuum will reduce the capture zone of the LFG extraction wells and
                         increasing the applied vacuum will increase atmospheric air intrusion into the landfill
                         media.




       9
           “Phases” of biodegradation as used in this discussion are not the same as and should not be confused with the
           geographic “phases” I, II, IIIA, IIIB and IVA of the Jefferson Parish Landfill in which waste was disposed.


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[98]                  Typical concentrations of LFG components during anaerobic degradation (Phase IV) are
                      listed in Table 5-1.


                        Table 5-1:    Typical LFG Components During Anaerobic Degradation

                                      % by
                        Component                                       Characteristics
                                     Volume

                        Methane      45–60    Methane is one of the principal gases formed in landfills. Methane
                                              gas is an explosive hazard when its concentration is between 5%
                                              (lower explosive limit) to 15% (upper explosive limit) in air.
                                              Methane gas is odorless, colorless, and lighter than air.

                        Carbon       40–60    The presence of carbon dioxide in the subsurface at concentrations
                        dioxide               above the level in atmospheric air (0.03% by volume), can be
                                              indicative of anaerobic or aerobic digestion of organic matter, since
                                              carbon dioxide is one of the products of mineralization or
                                              degradation. If the decomposition of organic waste is aerobic,
                                              greater concentrations of carbon dioxide may be detected. Carbon
                                              dioxide is colorless, odorless, and slightly acidic.

                        Sulfides     0–1      Sulfides (e.g., hydrogen sulfide, dimethyl sulfide, mercaptans) are
                                              naturally occurring gases that give the landfill gas mixture its
                                              rotten-egg smell. Sulfides can cause unpleasant odors even at very
                                              low concentrations. Under certain conditions, the disposal of organic
                                              materials containing sulfates generates chemical and biochemical
                                              reactions that produce H2S gas. H2S gas is a colorless gas with a
                                              strong odor (rotten eggs smell). While H2S is also flammable at
                                              concentrations between 4% and 44% by volume, it is unlikely to
                                              collect in Solid Waste landfills at high enough concentrations to pose
                                              a fire hazard.

                        Oxygen       0.1–1    Oxygen comprises approximately 21% of the atmosphere. It is
                                              odorless, tasteless, and colorless. The presence of oxygen within
                                              landfill media may be indicative of one of a combination of the
                                              following factors: (a) the aerobic digestion of organic matter; (b) the
                                              occurrence of inorganic oxidation-reduction processes; or
                                              (c) infiltration of atmospheric air generally caused by excessive
                                              vacuum pressures imposed by gas extraction systems. Excessive
                                              amounts of oxygen in a landfill during anaerobic degradation will
                                              disrupt anaerobic processes and can cause internal combustion and
                                              subsurface landfill fires.

                        Nitrogen     2–5      Nitrogen comprises approximately 79% of the atmosphere. It is
                                              odorless, tasteless, and colorless. Elevated readings in the LFG are
                                              usually indicative of atmospheric air intrusion into the waste media.

                        Ammonia      0.1–1    Ammonia is a colorless gas with a pungent odor. While ammonia is
                                              flammable when its concentration is between 15% and 28% by
                                              volume, it is unlikely to collect in Solid Waste landfills at high
                                              enough concentrations to pose a fire hazard.




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                        Table 5-1:      Typical LFG Components During Anaerobic Degradation

                                       % by
                        Component                                          Characteristics
                                      Volume

                        NMOCs         0.01–      NMOCs are organic compounds (i.e., compounds that contain
                        (non-         0.6        carbon, excluding methane). NMOCs may occur naturally or may be
                        methane                  formed by synthetic chemical processes. NMOCs most commonly
                        organic                  found in landfills include acrylonitrile, benzene, 1,1-dichloroethane,
                        compounds)               cis-1,2-dichloroethylene, dichloromethane, carbonyl sulfide, ethyl-
                                                 benzene, hexane, methyl ethyl ketone, tetrachloroethylene, toluene,
                                                 trichloroethylene, vinyl chloride, and xylenes.
                                                 Some NMOCs can react with sunlight to form ground–level ozone
                                                 (smog) if uncontrolled. Exposure to some NMOCs can also lead to
                                                 adverse health effects.

                        Hydrogen      0–0.2      Hydrogen is an odorless, colorless gas.

                        Carbon        0–0.2      Carbon monoxide is an odorless, colorless gas. Levels of carbon
                        monoxide                 monoxide in the LFG in excess of 1,000 parts per million (ppm)
                                                 coupled with increases in LFG temperature are usually indicative of
                                                 subsurface landfill fires.

                        Notes:
                        Adapted from Source: Tchobanoglous, Theisen, and Vigil 1993; USEPA 1995


       5.1.2     Rate of LFG Generation
[99]                  Two key factors in determining LFG generation rates are how fast the solid waste
                      biodegrades and how much of it biodegrades into gases. Solid waste is comprised of
                      many constituents, encompassing a broad range of biodegradability rates.

[100]                 The prediction of LFG generation rates over time is complex due to the heterogeneity of
                      the waste media and the many environmental, biochemical, and physical parameters
                      that enhance or inhibit biodegradation. Some models attempt to predict LFG generation
                      rates by a complex sum of mathematical functions that are believed to represent the
                      individual kinetics of the physicochemical processes occurring during the decomposition
                      of waste. These models are seldom applied in practice because specific information on
                      the heterogeneous nature of the waste media cannot be easily measured or
                      characterized. In practice, the prediction of LFG rates has been simplified by the use of
                      models where LFG generation rates are given as a simple empirical function of an
                      overall kinetic parameter. Specifically, biodegradation processes can be described as
                      kinetic equations involving the mass that is being degraded. Various LFG generation
                      models that have been used to predict LFG generation are listed in Table 5-2.


                        Table 5-2:      Typical Models Used to Predict LFG Generation

                             Model            Order                 Main Parameters and Assumptions

                        LandGEM           First Order   Methane generation potential and methane generation rate
                                                        constant - EPA-600/R-05/047 and EPA-4430-B-97-006



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                       Table 5-2:       Typical Models Used to Predict LFG Generation

                              Model        Order                  Main Parameters and Assumptions

                       SWANA             Zero Order    Based on weight of the waste, time and methane generation
                                                       potential and where no effect of the age of waste is
                                                       incorporated - SWANA 1998

                       IPCC              First Order   Based on waste landfilled and degradable organic carbon –
                                                       IPCC Guidelines for National Greenhouse Gas Inventories
                                                       (2006)

                       GasSim            First Order   Multiphase model, waste input carbon content and
                                                       degradation rate constant - Gregory et al. (2003)

                       EPER – France     First Order   Multiphase model – French Agency for the Environment and
                                                       Energy Management

                       EPER – Germany    Zero Order    Based on the amount of waste and proportion of
                                                       biodegradable carbon.

                       Afvalzorg -       First Order   Multiphase model with 3 waste categories in terms of decay
                       Netherlands                     rate. Based on Netherlands waste characteristics.

                       GASFILL           First Order   Two phase model that includes a lag phase of a rising
                                                       hyperbolic form, and a second phase of decreasing
                                                       exponential form.

                       Mexico            First Order   Methane generation potential and methane generation rate
                                                       constant as with LandGEM with a year lag in methane
                                                       production. Potential methane generation and decay rates
                                                       based on precipitation.


[101]              The LandGEM model is a first-order kinetic model extensively used and accepted in the
                   United States and incorporated in USEPA regulations. Therefore, to estimate gas
                   generation at the JPL Site, Ramboll used this model. In spite of the simplicity of the
                   first order kinetic models, it is challenging to find adequate values for the methane
                   potential (Lo), which describes how much landfill gas be generated per unit waste, and
                   for the kinetic constant (k), which describes how fast LFG can be generated from
                   biodegradable waste.

                   •     The methane potential, defined as the total volume of methane that could be
                         produced from a unit mass of waste, varies depending on the particular
                         composition of the waste. The average Lo value used as a default in LandGEM can
                         be modified for a specific landfill based on actual field data, including the amount of
                         biodegradable materials within the solid waste, water content, climate conditions,
                         and other environmental values.

                   •     The kinetic constant represents speed of LFG generation and thus the time at which
                         LFG is generated in a landfill. Different waste materials have different
                         biodegradation kinetic constants. Studies have demonstrated that the k values for




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                            different landfills can vary by as much as one or two orders of magnitude,
                            depending on waste type, moisture content, and temperature.

[102]                   The LandGEM model provides a range of default values for Lo and k for conventional,
                        arid (i.e., dry) and wet landfills and also allows for user-defined site-specific values.
                        According to EPA (EPA, 2005b), default values are defined “based on requirements for
                        municipal solid waste landfills laid out by the Clean Air Act (CAA)” and “based on
                        emission factors in the U.S. Environmental Protection Agency’s (EPA’s) Compilation of
                        Air Pollutant Emission Factors (AP-42).” The AP-42 values are based on data collected
                        from thousands of landfills across the United States (USEPA, 1997).

           5.2          Application of the LandGEM Model to Estimate H2S Generation from
                        Solid Waste at the JPL Site
[103]                   My evaluation focuses on the generation of H2S at the JPL during the years 2016
                        through 2019. I have concluded that the most significant sources of H2S emissions
                        were (1) uncontrolled area source emissions (e.g., emissions of gas through the
                        surface of the landfill) resulting from the low efficiency of the existing LFG extraction
                        system, and (2) H2S generated from the liquid waste solidification process. As indicated
                        in Section 4.3, while numerous design, construction, operation and maintenance
                        issues associated with the gas extraction and leachate collection systems have been
                        identified that would result in multiple point sources of LFG emissions, my calculations
                        do not account for emissions from these known sources.

[104]                   My analysis and conclusions are centered on the generation and emissions of H2S from
                        the waste disposed at the JPL other than that generated from the use of spent lime for
                        liquid waste solidification. H2S generation estimates resulting from the liquid waste
                        solidification process is the subject of an accompanying expert report prepared by my
                        Ramboll colleague, Dr. Jaana Pietari (Pietari, 2020). I have incorporated Dr. Pietari’s
                        conclusions into my final calculations of H2S emissions.

           5.2.1        Waste Acceptance
[105]                   While I understand that the defendants were only obligated to produce landfill disposal
                        records dating back to 2015 as part of this litigation, a basic understanding of waste
                        disposal at the JPL Site since its inception is necessary because the anaerobic
                        degradation of solid waste extends for a long period of time following the disposal of
                        waste. Historical and future projected waste disposal quantities were available in a
                        number of records, discussed below. 10,11, 12, 13, 14

[106]                   As detailed in Section 4.1.1, in 2017, Golder Associates presented a proprietary
                        landfill gas generation model, similar to the EPA LandGEM model, that evaluates waste
                        degradation and gas production using a first-order decay equation. The Golder gas
                        model used waste disposal quantities for Phase IIIA, IIIB, and IVA. The historical waste

    10
         (Golder Associates, 2017)
    11
         (CEC, 2018)
    12
         (CEC, 2019a)
    13
         (JPL, 2003-2020)
    14
         (CEC, 2019b)


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                   disposal quantities for Phase IIIA and IIIB were provided by Jefferson Parish, while
                   Golder projected future (as of 2017) waste disposal totals on a five-year rolling
                   average through 2034. (Appendix B1 of Golder report) (Golder, 2017).

[107]              As indicated in Section 4.1.2, in 2018, CEC conducted LFG generation modeling using
                   their version of the EPA LandGEM model. The CEC model used waste disposal quantities
                   for all Phase areas between 1982 and 2035. The report does not indicate the source of
                   historical annual waste disposal quantities (CEC, 2018).

[108]              As detailed in Section 4.1.3 in 2019, CEC conducted LFG generation modeling using
                   their version of the EPA LandGEM model. Each Phase of the landfill was modeled
                   separately. The historical waste disposal quantities for each Phase area were provided
                   by Jefferson Parish. Future waste intake was assumed to be 350,000 tons/year through
                   the end of the current solid waste permit life. Exhibit 4 included Tables 4-2 through 4-
                   11, which provided the waste disposal quantities between 1982 and 2035 used in the
                   CEC model (CEC, 2019a).

[109]              The Parish provides to the LDEQ Annual Certificates of Compliance, which include types
                   and quantities of solid waste disposed of at the facility beginning in July of one year
                   through June of the following year. Based on these documents (which were available
                   back to 2002), the types and quantities of solid waste disposed at the landfill each year
                   from 2002 through June 2020 were summarized (refer to Appendix D). The waste
                   type consisted primarily of Type II Non-Industrial Solid Waste and Type I Industrial
                   Solid Waste; however, offsite C&D was disposed of at the facility at least between 2008
                   and 2015 (JPL, 2003-2020).

[110]              On December 18, 2019, CEC submitted the Part 70 (Title V) Operating Permit Renewal
                   Application for the Jefferson Parish Landfill. Section C of the application included air
                   emission calculations, which included Landfill Gas Generation and Emission Rates
                   modeled using USEPA LandGEM. The disposal rates from 1982 to 2015 were taken from
                   the 2015 Title V Renewal Application, and the rates from 2016 to 2018 were provided
                   by Jefferson Parish (CEC, 2019b).

[111]              We have reviewed the waste disposal quantities in each of these documents and note
                   that they are not entirely consistent. The variation among the reported disposal
                   quantities was most pronounced for the year 2013. For our LFG modeling purposes, I
                   used the waste disposal quantities from the May 2019 CEC (CEC, 2019a) report for
                   1982 to 2015, except for 2013. For 2013, I considered the quantity provided in the CEC
                   2019 Title V Renewal Application (CEC, 2019b) to be a more reasonable assumption
                   because it followed the trend of waste disposal rates. For 2016 through 2019, I used
                   the actual quantities reported on the Certificate of Compliance forms between July
                   2016-June 2019, whereas the May 2019 CEC report assumed a waste intake of
                   350,000 tons/year through the end of the current solid waste permit life. For waste
                   between 2020 and 2035, I used CEC’s assumed waste intake rate of 350,000
                   tons/year. Appendix E of this report presents the annual waste acceptance rate since
                   1982 for each of the landfill phases (excluding spent lime used for liquid waste
                   stabilization) that I used for purposes of our LandGEM modeling.




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         5.2.2     Selection of the Kinetic Constant k
         5.2.2.1    Factors Affecting the K Value
[112]              The kinetic constant represents the rate at which waste within a landfill degrades and
                   generates LFG and is expressed in units of year-1. At higher k values, LFG generation
                   increases more rapidly and declines more quickly after a given waste is disposed in the
                   landfill. The k value is a function of five primary factors: (a) waste composition, size
                   and level of compaction; (b) moisture content of the waste mass; (c) pH of the landfill
                   environment and waste mass; (d) nutrient availability for biodegradation processes;
                   and (e) temperature of the landfill environment and waste mass.

[113]              The waste composition has a direct effect on k values, with rapidly degradable waste
                   (e.g., yard waste or food waste) having higher k values than slowly degradable waste
                   (e.g., textiles, wood, leather) or inert waste that will not decompose (e.g., glass,
                   metal, ash, plastic). Similarly, the waste particle size and level of compaction will affect
                   landfill gas generation rates; smaller sized and loosely placed waste will increase
                   production rates. Moisture conditions within a landfill have a significant effect on k
                   values, with very low k values at desert sites and very high values in wetter climates.
                   When moisture is added to the landfill environment (e.g., leachate recirculation,
                   infiltration of precipitation, or addition of liquids), the highest k values can be reached.
                   Landfill gas generation occurs when the landfill environment is relatively neutral (about
                   6.5 to 8 s.u.). Since the organic acids (i.e., acetic, lactic, and formic acids) that are
                   produced following aerobic degradation turn the landfill environment very acidic, these
                   need to be neutralized and converted to acetate by other anaerobic bacteria.
                   Biodegradation processes also require that nutrients be available to support the
                   microbial community, which rarely is an issue at municipal solid waste landfills. Landfill
                   temperatures, which normally range from 30 to 60oC, are relatively independent of
                   ambient temperatures. However, in shallow landfills located in cold climates, k values
                   will tend to be lower.

[114]              In attempting to estimate LFG gas generation at the JPL Site, Ramboll analyzed site-
                   specific moisture/saturation information in order to define an appropriate k value. This
                   information is discussed in the next section.

         5.2.2.2    Leachate (Liquid) Levels between 2009 and 2016
[115]              Ramboll reviewed several rounds of leachate (liquid) measurements taken by various
                   consultants hired by the Parish between 2009 and 2016. The data reviewed included
                   measurements of the depth of leachate in the gas wells from the ground surface, the
                   height of the leachate within the gas wells, and the percent of open perforated pipe
                   (screen) for each gas well. Ramboll used these data, along with descriptions of how the
                   gas wells were constructed (refer to Section 4.1.1) and topographical information, to
                   determine the leachate height above the landfill’s bottom liner at each of the measured
                   gas wells. Using this evaluation, we calculated the degree of leachate saturation of the
                   landfill media at each measured extraction well.

[116]              As presented in Tables 5-3 through 5-7, the data show that leachate levels and gas
                   well blockage with leachate have been serious problems at the landfill for several
                   years.



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                     Table 5-3:        Shaw Environmental: March - December 2009 15

                                                  Average Landfill Media Liquid   Average Number of Gas
                           Phase Area
                                                      Saturation (percent)           Wells Monitored

                                  I                             55%                        40

                                  II                            59%                        26

                              IIIA                              45%                        67

                              IIIB                               -                          -

                              IVA                                -                          -




                     Table 5-4:        Shaw Environmental: June 2012 16

                                                  Average Landfill Media Liquid   Average Number of Gas
                           Phase Area
                                                      Saturation (percent)           Wells Monitored

                                  I                             62%                        46

                                  II                            60%                        31

                              IIIA                              46%                        70

                              IIIB                              47%                        27

                              IVA                                -                          -




                     Table 5-5:        CB&I: February 2016 17

                                                  Average Landfill Media Liquid   Average Number of Gas
                           Phase Area
                                                      Saturation (percent)           Wells Monitored

                                  I                             62%                        39

                                  II                            60%                        14

                              IIIA                              46%                        62

                              IIIB                              47%                        24

                              IVA                                -                          -




15
     (Shaw, 2009)
16
     (Shaw, 2012)
17
     (CB&I, 2016a)


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                          Table 5-6:        CB&I: March 2016 18

                                                          Average Landfill Media Liquid   Average Number of Gas
                                 Phase Area
                                                              Saturation (percent)           Wells Monitored

                                       I                              58%                          47

                                       II                             51%                          30

                                     IIIA                             33%                          69

                                     IIIB                             37%                          54

                                     IVA                                -                           -




                          Table 5-7:        CB&I: July 2016 19

                                                          Average Landfill Media Liquid   Average Number of Gas
                                 Phase Area
                                                              Saturation (percent)           Wells Monitored

                                       I                              62%                          47

                                       II                             58%                          30

                                     IIIA                             32%                          69

                                     IIIB                             38%                          54

                                     IVA                                -                           -


           5.2.2.3       Leachate (Liquid) Levels between 2018 and 2019 20
[117]                    During its 2018 field assessment, CEC identified several issues that were affecting the
                         recovery of landfill gas. Specifically, CEC found that the volume of subsurface liquids
                         was negatively impacting the effectiveness of the LFG collection system.

[118]                    I reviewed Exhibit 2 (Gas Well Water and Perforated Pipe Analysis Data: CEC Field
                         Data) & Exhibit 3 (Gas Well Water and Perforated Pipe Analysis: APTIM Field Data) of
                         the 2018 CEC Assessment Report (CEC, 2018). CEC Exhibit 2 presents the analysis
                         taking into account the depth of leachate in the gas wells from ground surface, the
                         height of the leachate within the gas wells, and the percent of perforated pipe
                         saturated by leachate.

[119]                    As with the data collected between 2009 and 2016, I used these data, along with
                         descriptions of how the gas wells were constructed (refer to Section 4.1.1) and
                         topographical information, to determine the leachate height at each of the measured

    18
         (CB&I, 2016d)
    19
         (CB&I, 2016i)
    20
         No leachate level data was available for 2017.


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                       gas wells above the landfill’s bottom liner. Using this evaluation, the degree of leachate
                       saturation of the landfill media at each measured extraction well was calculated.

[120]                  Tables 5-8 and 5-9 present the results of our evaluation of leachate saturation within
                       the landfill media, using information presented in Exhibits 2 & 3 of the 2018 CEC
                       assessment report. Appendices F and G provide additional details regarding leachate
                       levels at each gas well.


                        Table 5-8:        CEC Data: May 14-18, 2018 21

                                                      Average Landfill Media Liquid    Average Number of Gas
                               Phase Area
                                                          Saturation (percent)            Wells Monitored

                                     I                            58%                              8

                                     II                           50%                              7

                                   IIIA                           34%                             10

                                   IIIB                           28%                             13

                                   IVA                            45%                             11




                        Table 5-9:        APTIM Data: Various Dates in 2018 22

                                                      Average Landfill Media Liquid    Average Number of Gas
                               Phase Area
                                                          Saturation (percent)            Wells Monitored

                                     I                            58%                             51

                                     II                           49%                             31

                                   IIIA                           31%                             67

                                   IIIB                           37%                             51

                                   IVA                              -                              -


[121]                  Between January 1, 2018 and June 30, 2018, APTIM performed field measurements of
                       liquid levels in gas wells in Phases I, II, and IIIA. Table 5-10 summarizes the percent
                       of saturation for each Phase Area, calculated from the data provided by APTIM.
                       Appendix H provides additional details regarding leachate levels at each gas well.




    21
         (CEC, 2018)
    22
         (CEC, 2018)


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                          Table 5-10:     APTIM Data: January 2018 - June 2018 23

                                                     Average Landfill Media Liquid   Average Number of Gas
                                Phase Area
                                                         Saturation (percent)           Wells Monitored

                                    I                            70%                          51

                                    II                           50%                          30

                                   IIIA                          38%                          35

                                   IIIB                            -                           -

                                   IVA                             -                           -


[122]                Between July 1, 2018 and December 31, 2018, APTIM performed field measurements
                     of liquid levels in over 200 wells in all Phase areas. Table 5-11 summarizes the
                     percent of saturation for each Phase Area, calculated from the data provided by APTIM.
                     Appendix I provides additional details regarding leachate levels at each gas well.


                          Table 5-11:     APTIM Data: July 2018 - December 2018 24

                                                     Average Landfill Media Liquid   Average Number of Gas
                                Phase Area
                                                         Saturation (percent)           Wells Monitored

                                    I                            56%                          50

                                    II                           52%                          30

                                   IIIA                          31%                          68

                                   IIIB                          33%                          54

                                   IVA                           56%                          14


[123]                Between January 1, 2019 and March 31, 2019, APTIM performed field measurements of
                     liquid levels in over 200 wells in all Phase areas. Table 5-12 summarizes the percent
                     of saturation for each Phase Area, calculated from the data provided by APTIM.
                     Table 5-13 presents a summary of the percent saturated for each phase based on
                     2018 and 2019 APIM measurements. Appendix J provides additional details regarding
                     leachate levels at each gas well.




    23
         (APTIM, 2018a)
    24
         (APTIM, 2018b)


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                         Table 5-12:     APTIM Data: 2019 Q1 25

                                                      Average Landfill Media Liquid    Average Number of Gas
                               Phase Area
                                                          Saturation (percent)            Wells Monitored

                                   I                              53%                             50

                                   II                             51%                             31

                                  IIIA                            35%                             70

                                  IIIB                            33%                             57

                                  IVA                             46%                             22




                         Table 5-13:     Summary of APTIM Data 2018 - 2019

                                         Phase Area                         Average Percent Saturated

                                             I                                          59%

                                             II                                         51%

                                            IIIA                                        34%

                                            IIIB                                        34%

                                            IVA                                         51%


           5.2.2.4       Selected K Value for the JPL Site
[124]                The USEPA (2005b) investigated landfill gas collection from wet landfill cells to estimate
                     first-order gas generation model parameters. Its evaluation included a literature review
                     regarding landfill gas generation and modeling, identification of case studies, and
                     statistical comparisons of predicted and actual gas collection. The EPA determined that
                     wet cells produce more gas at a faster rate than conventional landfills and defined k
                     and Lo values for three full-scale wet landfills where waste was placed over many
                     years: (a) 0.21 yr-1 for a landfill with leachate recirculation; (b) 0.11 yr-1 for a landfill
                     where wetting occurred due to groundwater inflow from an unconfined aquifer; and
                     (c) 0.12 yr-1 for a landfill with leachate recirculation and a sandy soil cover. The EPA
                     also estimated mean and 95% confidence k and Lo values for a set of landfills with
                     short term waste placement and long-term gas collection data using mixed-effects
                     model regression followed by bootstrap analysis. The mean and 95% confidence
                     interval k value were 0.28 yr-1.

[125]                I have discussed at length above the substantial leachate saturation problems that
                     have historically been recognized and documented at the JPL Site. Considering that the
                     JPL site is significantly saturated with liquids, where leachate levels above the landfill’s

    25
         (APTIM, 2019)


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                       bottom liner are between 34 and 59% of the landfill height, the JPL site is analogous to
                       the full-scale wet landfill studied by the EPA, where wetting occurred due to
                       groundwater inflow from an unconfined aquifer. Therefore, I have concluded that a k
                       value of 0.11 yr-1 is appropriate to use as an input for the LandGEM model used to
                       calculate LFG generation at the JPL Site.

           5.2.3       Selection of the Methane Potential Lo for the JPL Site
[126]                  For the reasons previously discussed, I have also concluded that for purposes of
                       modeling LFG at the Jefferson Parish Landfill using LandGEM, it is appropriate to apply
                       the Lo value that EPA has recommended for wet landfills, which is 96 m3/Mg.

           5.2.4       H2S Concentration for each Landfill Phase
[127]                  During our November 2019 site inspection, Ramboll recorded measurements of
                       methane, carbon monoxide, carbon dioxide, oxygen, H2S and static pressure at most
                       gas wells using a GEM 5000. A Jerome 631X was also used to measure H2S
                       concentrations. Significantly, in Phase IVA, we were not able to obtain measurements
                       at most Phase IVA well locations as dangerously high H2S concentrations in ambient air
                       precluded us from taking measurements at the LFG extraction wellhead locations. More
                       broadly, due to health and safety considerations, we were prohibited by the defendants
                       from accessing and sampling locations that were on or close to the locations in Phase
                       IVA where active landfilling operations were being conducted. It is important to note
                       that during its 2018 site assessment, CEC obtained its highest H2S readings at these
                       LFG extraction wells.

[128]                  In order to estimate emissions rates for hydrogen sulfide from solid waste (other than
                       the waste accounted for by the lime and solidification process), an average H2S
                       concentration was calculated for each landfill phase. The average was calculated
                       from wells with H2S concentrations where oxygen was measured at less than 5%. 26
                       Table 5-14 below shows the average H2S concentration for each landfill phase that
                       was input into LandGEM as the user-specified pollutant parameter for existing
                       pollutants. Since the waste placed in Phase IVA included spent lime and related wastes
                       (refer to Section 7), field measurements of hydrogen sulfide were not used at this
                       stage. Rather, the average H2S concentration from solid waste in Phase IVA (not
                       including the spent lime solidified waste addressed by Dr. Pietari) was assumed to be
                       equivalent to those of Phase IIIB.


                        Table 5-14:         Average H2S Concentrations for Waste-In-Place

                                    Phase                 Average H2S Conc. (ppm)            Number of Data Points

                                       I                              70.2                              15

                                       II                             34.4                               9



    26
         LFG Extraction wells with higher oxygen concentrations are indicative of atmospheric air intrusion. With the
         introduction of oxygen around the well, the anaerobic degradation process is disrupted, inhibiting the generation
         of methane and hydrogen sulfide. Therefore, measured concentrations of these compounds are not
         representative of the environmental conditions of the landfill media.


    Landfill Gas Generation
    Modeling from Solid Waste                                                                                     Ramboll
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                     Table 5-14:        Average H2S Concentrations for Waste-In-Place

                                Phase                 Average H2S Conc. (ppm)        Number of Data Points

                                 IIIA                            15.5                             61

                                 IIIB                            56.5                             50

                                 IVA                       56.5 (assumed)                         50


         5.3       Results of the Application of the LandGEM Model to Estimate H2S
                   Generation from Solid Waste
[129]              As noted, we performed landfill gas generation modeling using USEPA LandGEM Version
                   3.03 (June 2020). The potential methane generation capacity (Lo) was set to 96 cubic
                   meters/ Megagram and the methane generation rate (k) was set to 0.11 year-1.
                   Consistent with LandGEM default assumptions (EPA, 2005a), the methane content was
                   assumed to be 50% by volume.

[130]              The estimated H2S generation for each landfill phase between 2005 and 2020 is
                   summarized in Table 5-15 below. These calculations do not include H2S generated by
                   the spent lime solidification activities that took place in Phase IV A from 2016 to 2018.
                   The H2S generated from those waste sources have been calculated separately by Dr.
                   Pietari and are discussed in Section 7.


                     Table 5-15:        H2S Generation from Solid Waste (𝒎𝒎𝟑𝟑 /𝒚𝒚𝒚𝒚𝒚𝒚𝒚𝒚)

                        Year            Phase I       Phase II          Phase IIIA   Phase IIIB        Phase IVA

                        2005            1281.19        295.05             795.64        0.00             0.00

                        2006            1147.73        264.31             732.77       511.48            0.00

                        2007            1028.18        236.78             674.10       909.57            0.00

                        2008            921.08         212.12             620.90      1249.79            0.00

                        2009            825.13         190.02             571.27      1504.29            0.00

                        2010            739.18         170.23             525.27      1692.90            0.00

                        2011            662.18         152.50             483.71      1852.76            0.00

                        2012            593.21         136.61             446.76      2003.12            0.00

                        2013            531.42         122.38             412.79      2115.81            0.00

                        2014            476.06         109.63             379.25      2091.12           195.36

                        2015            426.47          98.21             339.75      1873.30           574.78

                        2016            382.05          87.98             304.36      1678.16           859.33



    Landfill Gas Generation
    Modeling from Solid Waste                                                                              Ramboll
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                 Table 5-15:   H2S Generation from Solid Waste (𝒎𝒎𝟑𝟑 /𝒚𝒚𝒚𝒚𝒚𝒚𝒚𝒚)

                    Year       Phase I       Phase II       Phase IIIA     Phase IIIB   Phase IVA

                    2017       342.25          78.82          272.65        1503.36      1136.88

                    2018       306.60          70.61          244.25        1346.76      1415.18

                    2019       274.66          63.25          218.81        1206.47      1640.01

                    2020       246.05          56.66          196.02        1080.80      1808.19




Landfill Gas Generation
Modeling from Solid Waste                                                                   Ramboll
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    6.         ESTIMATED COLLECTION EFFICIENCIES
[131]                Since some of the LFG that a landfill generates will be captured by the LFG collection
                     system, the amount of LFG that escapes into the ambient air (i.e., fugitive emissions)
                     will be the total amount of LFG generated, minus the amount of LFG captured by the
                     gas collection system (mainly, the LFG extraction wells). Therefore, the collection
                     efficiency of the LFG system must be determined and quantified. In this case, we
                     calculated the landfill gas collection efficiency for each Phase of the landfill using data
                     provided in the 2018 CEC report and the square footage of each phase. Our
                     calculations are conservative (i.e., underestimate gas emissions) because we do not
                     include landfill gas emissions emanating from the side-slopes of the landfill phases
                     (which are not equipped with gas collection wells), wells with positive pressure (which
                     do not have a capture zone), and known multiple potential point sources resulting from
                     damaged infrastructure.

[132]                Exhibit 12A of the 2018 CEC report presented the theoretical maximum ROIs of the
                     current well depth, assuming all liquids were removed. These ROIs were calculated
                     from field data collected by both APTIM and CEC. Ramboll used this exhibit to calculate
                     the maximum ROI area for each gas well (refer to Figure 6-1A through Figure 6-1D).
                     The dry well depth ROI areas for each Phase are summarized in Table 6-1 below. A
                     percent coverage was calculated using the dry depth area and the total area of gas
                     collection. These results show CEC’s conclusions as to the radius of influence of each
                     well assuming they are perfectly dry – which we know they are not.

[133]                Exhibit 12B of the 2018 CEC report presented the theoretical ROIs of the wells, taking
                     into account CEC’s liquid levels measurements within the wells. As this leachate blocks
                     a portion of the perforated pipe and therefore prevents collection of landfill gas, the
                     ROIs under wet conditions are reduced as compared to dry conditions. Ramboll used
                     Exhibit 12B to calculate the ROI area (saturated well depth area) for each gas well
                     (refer to Figure 6-2A through Figure 6-2D) The saturated well depth ROI areas are
                     summarized in the table below by Phase area. For each Phase, the aggregate
                     percentage of the total surface area that is controlled by all gas collection wells in that
                     Phase was calculated using the saturated well depth area and the total area of gas
                     collection. Without access to additional information, Ramboll assumed the 2018 liquid
                     levels CEC reported also represented the 2019 conditions. From this information the
                     collection efficiencies for each Phase (i.e., current LFG collection coverage) was
                     calculated and used for modeling in LandGEM. The gas collection efficiencies for each
                     Phase are provided in Table 6-1.

[134]                Unlike what exists at the JPL Site, a properly designed, constructed, operated and
                     maintained landfill gas collection system of vertical extraction wells will ensure that the
                     wells are spaced such that the aggregate radius of influence or capture zone of all
                     individual wells will provide complete coverage of the landfill surface (i.e., that no LFG
                     escapes to the ambient air through the landfill surface). Since the capture zones are
                     modeled as roughly vertical cylinders, to achieve complete coverage the ROIs need to
                     overlap as conceptually shown in Figure 6-3. The JPL LFG extraction system does not
                     conform to this standard. Instead, the collection efficiency of the JPL gas extraction
                     system ranges from 8% to 28%, based on the area covered by the ROI of all LFG wells.



    Estimated Collection Efficiencies                                                                    Ramboll
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                   Table 6-1:           Estimated Collection Efficiencies

                                                                                                            Current LFG
                                                           Maximum                          Current
                                                Total Area                  Maximum                          Collection
                                                              LFG                             LFG
                                 Total Area       of Gas                       LFG                          Coverage /
                       Phase                               Collection                      Collection
                                   (S.F)        Collection                  Collection                        Current
                                                             Area                            Area
                                                  (S.F)1                    Coverage                         Collection
                                                            (S.F.)2                         (S.F.)3
                                                                                                             Efficiency

                         I        3,664,001      2,348,099      704,549         30%         194,475              8%

                         II       3,086,503      1,783,446      317,631         18%         148,274              8%

                        IIIA      3,889,788      2,585,139      763,874         30%         523,800             20%

                        IIIB      2,660,947      2,251,571      983,899         44%         623,796             28%

                        IVA       1,541,395       942,971       267,678         28%          95,888             10%

                   Notes:
                   1
                        The total gas collection area is conservatively assumed to exclude the side slopes of the
                        landfill cells. Note, however, that landfill gas collection is typically required on the entire
                        landfill.
                   2
                        The maximum LFG collection area refers to the total area of LFG collection based on the
                        ROIs defined by CEC and assuming the gas collection wells to be dry (refer to Exhibit 12A in
                        the 2018 CEC report).
                   3
                        The current LFG collection area refers to the total area of LFG collection based on the ROIs
                        defined by CEC and assuming the gas collection wells to be partially blocked with leachate
                        (refer to Exhibit 12B in the 2018 CEC report).




Estimated Collection Efficiencies                                                                                     Ramboll
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    7.         H2S EMISSION INVENTORY
         7.1       H2S Generation from Spent Lime Operations
[135]              Dr. Jaana Pietari reviewed the potential for “spent lime” and related wastes disposed of
                   at JPL to generate H2S that has contributed to elevated H2S concentrations at JPL. Her
                   analysis is submitted as a separate expert report and the results of her analysis are
                   incorporated into my final emissions calculations.

[136]              Using a first-order decay equation and the amounts of sulfur-rich waste disposed at the
                   JPL Site, the times of disposal, first-order H2S decay coefficients, and H2S generation
                   potentials, Dr. Pietari estimated the monthly volumes of H2S generated from the start
                   of the disposal of spent lime through the end of 2019. According to Dr. Pietari, due to
                   the range of sulfur contents present in spent lime and the range of potential first-order
                   decay coefficients and H2S generation potentials, she calculated a reasonable lower and
                   upper bound for monthly H2S generated from the sulfur-rich waste disposed at the JPL
                   Site. From these results she calculated a reasonable estimate of H2S generation
                   estimate for each month. The monthly H2S generation estimates from spent lime are
                   provided in the tables included in Appendix K. I understand that Dr. Pietari used the
                   average of the upper and lower bound for each month as the reasonable estimate of
                   H2S generation for that month, and that Dr. Pietari has concluded that the use of this
                   average very likely underestimates the actual H2S generated each month from these
                   sources.

         7.2       H2S Fugitive Emissions
[137]              We calculated total H2S fugitive emissions from the JPL for each year from 2016 to
                   2019 using the following data: (1) H2S generation rates from solid waste calculated
                   using LandGEM (refer to Section 5.3); (2) H2S generation rates attributed to the spent
                   lime and related wastes disposed in Phase IVA and as calculated by Dr. Pietari (refer to
                   Section 7.1); and (3) collection efficiencies calculated for areas where LFG is not
                   captured (i.e., areas of surface fugitive emissions). As previously indicated,
                   contributions associated with point sources have not been included in the estimate of
                   H2S emissions, which results in an underestimation of actual H2S emissions.

[138]              Since Phases I through IIIB were non-operational during the period of analysis (2016
                   to 2019), the total area where LFG can be captured remained constant for each of
                   those Phases. These areas are outlined in red in Figure 6-1A through Figure 6-1D,
                   and Figure 6-2A through Figure 6-2D. The total area where LFG is currently captured
                   by the gas wells was the sum of the 2018 CEC calculations of saturated ROI around
                   each gas well. Despite the fact that gas recovery records indicate a gradual decrease in
                   collection between 2011 and 2016, and in the absence of additional information, it was
                   assumed that the total area where LFG is currently captured by the gas wells was
                   similar for 2016 to 2019. This assumption likely results in an underestimation of LFG
                   generation. Using the ratio of the area of current LFG collection and total area of
                   required LFG collection (refer to Section 6), the average efficiency of collection was
                   calculated for each phase (refer to Table 6-1).

[139]              To determine the total H2S generation rate for Phase IVA, the H2S generation rate from
                   solid waste calculated using the LandGEM (refer to Section 5.3) and the H2S



    H2S Emission Inventory                                                                           Ramboll
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                       generation rate from Dr. Pietari’s spent lime analysis (refer to Section 7.1) were
                       aggregated. 27 Since Phase IVA was actively accepting waste during the period of
                       analysis, in the absence of construction records for the LFG control system, the total
                       area where LFG could be captured was assumed to grow proportionally to the quantity
                       of waste being disposed. Additionally, since gas wells were not installed in this area
                       until early 2018, there was no LFG capture until the first wells were installed in 2018.
                       For gas wells installed in 2018, the capture zone was defined as the 2018 CEC
                       Saturated ROI. For wells installed in 2019, the capture area was defined as the average
                       CEC defined capture area for wells installed in 2018. Since Phase IVA was actively
                       being operated, a monthly collection efficiency was calculated considering when wells
                       were installed, such that it changed over time. Table 7-1 shows the average efficiency
                       of collection for each area.


                        Table 7-1:         Average Efficiency of LFG Collection per Phase

                                           Phase                               Average Efficiency of Collection

                                              I                                               8.3%

                                              II                                              8.3%

                                             IIIA                                            20.1%

                                             IIIB                                            27.8%

                                            IVA 1                                             8.5%

                        Note:
                        1
                            The collection efficiency in Phase IVA varied as wells were being installed and was estimated
                            to range from 6.6% to 17.3%.


[140]                  The product of the efficiency of collection and the H2S generation rates resulted in the
                       total fugitive emissions estimates of H2S from October 2016 to December 2019, which
                       are provided in Appendix K. Table 7-2 summarizes the annual H2S generation and
                       emission rates.




    27
         The available information allowed Dr. Pietari to calculate specific H2S generation rates for each month. The H2S
         generation rates that I calculated for all other wastes at the landfill are reported by LandGEM on an annual
         basis. For purposes of aggregating the LandGEM results with Dr. Pietari’s emissions calculations, I assumed that
         each annual total was distributed evenly over 12 months.



    H2S Emission Inventory                                                                                         Ramboll
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 Table 7-2:      Summary of Annual H2S Generation and Emission Estimates per Landfill
                 Phase Over Time

                         H2S Generation                          H2S Fugitive Emissions

  Year
          Solid Waste   Spent        Solid Waste
                                                         m3        Mg          m3/m2      Mg/m2
              (Mg)    Lime (Mg)          (Mg)

                                                   Phase I

  2016        0.14            -           0.14          87.6       0.1        4.38E-04    6.21E-07

  2017        0.49            -           0.49          313.9      0.4        4.23E-04    5.99E-07

  2018        0.43            -           0.43          281.2      0.4        4.07E-04    5.78E-07

  2019        0.39            -           0.39          251.9      0.4        3.92E-04    5.56E-07

                                                  Phase II

  2016        0.03            -           0.03          20.2      0.03        1.33E-04    1.88E-07

  2017        0.11            -           0.11          72.3       0.1        4.76E-04    6.74E-07

  2018        0.10            -           0.10          64.7       0.1        4.26E-04    6.04E-07

  2019        0.09            -           0.09          58.0       0.1        3.82E-04    5.41E-07

                                                 Phase IIIA

  2016        0.11            -           0.11          60.8       0.1        3.14E-04    4.45E-07

  2017        0.39            -           0.39          217.9      0.3        1.12E-03    1.59E-06

  2018        0.35            -           0.35          195.2      0.3        1.01E-03    1.43E-06

  2019        0.31            -           0.31          174.9      0.2        9.03E-04    1.28E-06

                                                 Phase IIIB

  2016        0.59            -           0.59          303.0      0.4        2.01E-03    2.85E-06

  2017        2.13            -           2.13         1,085.9     1.5        7.20E-03    1.02E-05

  2018        1.91            -           1.91          972.8      1.4        6.45E-03    9.15E-06

  2019        1.71            -           1.71          871.5      1.2        5.78E-03    8.19E-06




H2S Emission Inventory                                                                       Ramboll
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        Table 7-2:        Summary of Annual H2S Generation and Emission Estimates per Landfill
                          Phase Over Time

                               H2S Generation                                H2S Fugitive Emissions

            Year
                   Solid Waste   Spent        Solid Waste
                                                                  m3              Mg       m3/m2         Mg/m2
                       (Mg)    Lime (Mg)          (Mg)

                                                         Phase IVA

            2016       0.3          2.6            2.9          2,061.8           2.9     4.28E-02       6.07E-05

            2017       1.61         42.7          44.3         31,277.6           44.3    5.32E-01       7.55E-04

            2018       2.01         72.9          74.9         47,659.9           67.6    7.34E-01       1.04E-03

            2019       2.32         48.3          50.7         29,885.4           42.4    4.21E-01       5.96E-04

        Notes:
        1
            Data for 2016 only includes the months of October through December.


[141]                   It should be noted that in the December 18, 2019 Part 70 Operating Permit Renewal
                        and Modification Application (CEC, 2019b), CEC estimated annual generation of
                        hydrogen sulfide of 166.63 tons (or 151.16 Mg), which is significantly higher than the
                        generation of 44.3 to 74.9 Mg/year which I assumed for purposes of my calculations.

[142]                   I have estimated emissions of H2S from the Jefferson Parish Landfill for the period of
                        October 2016 through December 2019. For the reasons discussed in this report, it is
                        my opinion that these calculations underestimate actual H2S emissions from the JPL
                        Site during this period.

[143]                   My calculations, which incorporate Dr. Pietari’s conclusions, are set forth in
                        Appendix K to this report.




    H2S Emission Inventory                                                                                  Ramboll
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